             Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 1 of 64




Trump v. Twitter, lnc (1:21-cv-2244L\ District Court, S.D. Florida Judge Robert Nichols Scola Jr.
Friend of Court Brief filed by David Andrew Christenson October 4th,2O2L

                                             Friend of Court Brief 2


Judge Scola,


I despise Trump and Biden. lf we do not change     the narrative, we will all die.

Twitter and Jack Dorcey have censored me, and Americans have died and will die.

lf the Supreme Court had just ordered a response to my Extraordinary Writ of Mandamus and
Prohibition L4-LOO77, we would not be in the Pandemic.

Help save Mankind by changing the narrative. STOP THE CENSORSHIP.


I   took an oath                                                       to uphold, protect and honor the
                   as an Air Force Academy graduate and Air Force Officer
Constitution. I did not realize that everyone in my country would be the enemy - "foreign and
domestic".

Attached are court pleadings. This is information for you. Maybe you learn something maybe you do
not. Last sentence First Amendment: "and to petition the Government for a redress of grievances." My
grievance is to educate you about how important the First Amendment is'


References:


Judge Ellen Lipton Hollander (MDD two cases)
Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland
State of Maryland v. United States of America (1:18-cv-02849) District Court, D. Maryland


Chief Justice William PryorJr. (ln 2020 he docketed SCOTUS Writ 14-1007and gave me an appealin
Alters v. People's Republic of China (l:20-cv-2tL08) District Court, S.D. Florida Judge Ursula Mancusi
Ungaro)
United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The United States
of America - Court of Appeals No.: 2L-10371
United States Court of Appeals for the Eleventh Circuit - Appeal Number: 2O-t3766-F Case Style: Marta
Reyes, et alv. David Christenson District Court Docket No: L:20-cv-2l108-Uu


Judge Ursula Mancusi Ungaro (SDFL - docketed over 100 pleadings and letters. The 11th Circuit allowed
me to appeal.)
Alters v. People's Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula Mancusi
    Ungaro


    Chief Judge Lee H. Rosenthal all gave me a voice in two cases, and she was not the presiding judge.
           Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 2 of 64




Bridges v. Houston Methodist Hospital (4:2L-cv-01774) District Court, S.D. Texas Judge Lynn Nettleton
Hughes
Benitez-White v. Peoples Republic of China (4:20-cv-0L562) District Court, S.D. Texas Judge Ewing
Werlein Jr.



Godspeed




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davida nd rewch riste,nson@gma   i   l.   cqm.
dchristenson6@ hotmail.com.
            Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 3 of 64




             AMICUS 162  - October 3'd. 2021 - How can smart people be so incrediblv stupid?
  It is and was  pneumonia,  pneumonia, pneumonia, and we knew it. CHINA TOLD US (02108/2020).
China, on February 8'h,2020, told the world that "Pneumonia" had been released from Wuhan. The
Chinese called it: Novel Coronavirus !3gryQ, or NCP. The World panicked. On February 1lth, 2020 (3
days later) it was named by the World Health Organization/ lnternational Committee on Taxonomy of
Viruses: Severe Acute Respirotory Syndrome Coronavirus 2 (SARS-CoV-2). 2019 novel coronavirus'or
'2019-nCoV. COV|D79.


The worst word for a human being is "pneumonia". The worst word for Mankind is "pneumonia". The
degradation of the lungs is the number one cause of death for Mankind.

Textbook Definition of Stupid: Politics and Economics caused the world to treat it as a coronavirus and
not the deadliest disease in the world, pneumonia. Coronaviruses are not Endemic until now.
Pneumonia is a "cause of death", coronaviruses/COVlD19 is not.

The transmission of pneumonia is still a mystery to medicine and science as is the transmission of
COVID19. (There is evidence that COV|Dlg is transferred via feces into the genitals. This would account
for the high infection rates of both residents and employees of assisted living facilities/memory care
units. The cure/vaccine could have been as simple as washing one's hands with soap. Sanitizers are a
mistake.)


Based on all my research, background, and experiences I believe that we made a Genocidal mistake with
quarantines, masks, and vaccines. We are Apex Predators that have survived an infinite number of Virus,
Bacteria and Fungi infections. (What if all of us are to get infected for Mankind to survive?) Empirical
evidence and personalobservation. Anyone, regardless of the strength of their immune system, can
become infected with Fungi, Bacterial or Virus pneumonia. Recovery is based on the strength of one's
immune system. (l had bacterialpneumonia in 2019.)

A pneumonia (COVID19) infection, regardless of the symptoms and vaccination status, is devastating to
the immune system. (Think about cancer and how it goes undetected. Your immune system is at work.)

Justice Kavanaugh, who has been vaccinated, testing positive for pneumonia (COVIDL9) is a big deal. He
hai been infected. "lt is the pneumonia, stupid." "Keep vour eve on the ball - the pneumonia."

Attached are the first two pages: United States Court of Appeals for the District of Columbia Case: 19-
5121 (Civ. Action No. 19-810 - RBW) David Andrew Christenson - Appellant (Movant) v. Appellee - NA
(Electronic Privacy lnformation Center v. United States Department of Justice) USCA Case #19'5L21
Document #1829856 Filed:021L9/2020 Page 1 of 16 pases.

Albert Einstein - "We connot solve our problems with the some thinking we used when we creoted
them."

Godspeed - Sincerely, David Andrew Christenson - Box 9063 - Miramar Beach, Florida 32550
504-7L5-3086-davidandrewchristenson@gmail.com.-dchristenson6@hotmail.com.
                 Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 4 of 64




L1:09 p.m. ET, February 8,2020
Wuhan coronavirus gets a new official name
,https;/1wwq,q1_r1,,c_o,p11siO1.L_v-e:neWS1_So,tqt_r,Oy!tuS:p--Ul_b_le-ak:-02:Q9   20,intl-
hnk/h38c7s075_83_63-e_bb-b_5e87"c-Q6._e5_aQb-91-c,5

China's National Health Commission gave the Wuhan coronavirus a temporary name at a news
conference on Satu rday.
For weeks, the rapidly-spreading virus has only been known by the name of the city where it originated,
something which locals in Wuhan have found frustrating and stigmatizing.
Chinese officials said that the virus would temporarily be named the Novel Coronavirus Pneumonia, or
NCP.
There is no news on when an official final title for the virus will be designated


The illness gets a name, temporarily.
h!tp:;1/w_ww.4ytjqnes,csm l2ozQlo?198_lytpr)dl9siilcer-qnqy-!!:u-S Chi4q,h1-ml
Published Feb. 8, 2020
The Chinese government has announced a temporary name for the illness caused by the coronavirus,
ordering the local authorities and state news media to adopt it. ln English, it will be called N.C.P., for
novel coronavirus pneumonia, the National Health Commission said on Saturday.
A final, official name will eventually be chosen by the lnternational Committee on Taxonomy of Viruses.
The organization has submitted a name to a scientific journalfor publication and hopes to reveal it
within days, the            BBC reported.


NCP chosen as temporary name                for virus


n   ew   dea-t   b   s-:a!t.d:2-841
Cissy Zhou, Orange Wang and Linda Lew
Published: 6:2Oam,8 Feb, 2020
China's National Health Commission has given the virus a temporary official name              -   novel coronavirus
pneumonia, or              NCP.
The commission announced the new name at a press conference on Saturday and said it should be
adopted by China's government departments and organisations in China until a permanent name forthe
infection has been determined.
The naming of a new virus is decided by the lnternational Committee on Taxonomy of Viruses. A name
has been submitted to scientific journals and the committee hopes to announce it within days, the BBC
reported.
                      Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 5 of 64

         USCA Case #L9-512I                       Document#L829856                      Filed: 0211912020
                                                                                                              ffi
                                                     uNrrED sTATES couRT oF          AppEALs
                                                                                                              I#I
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                                                  FoRrHEDrsrRrcroFcoLUMBrAcrRcurr                            i iFBI9ffi ifI i
         David Andrew Christenson           -   Appellant (Movant)                      Case: 19-5121
                                                                                        Civ. Action No. 19-810 - RBW
        Appellee      -   NA
        (Electronic Privacy lnformation center v. United states Department of Justice)

                                    Eleventh Supplemental Petition/Application/Motion for En Banc

              Amicus/Notice 168         -   Nuclear Explosion because of one word. Official name: Novel Coronavirus
                                                                   Pneumonia (NCp)

        The Chinese Government gave the Coronavirus an official name: Novel Coronavirus pneumonia
                                                                                                  {NCp).

        The World absolutely did not \Mant the word "Pneumonia" in the official name. THIS lS AN EplC
        ACKNOWLEDGEMENT.


$s      The lnternational committee on Taxonomy of viruses will give the final name.


        The three pleadings that are attached will enlighten you if you take the time to read them.


        It will take will effort on your part if we are to save Mankind by changing the Narrative.


           Amicus/Notice 104 - Orygen (O2)             -   lf the lmmune System(s) is our army then Oxygen is the bullets.

        Mankind is a fragile species and if we are to survive, we must have an open, honest and uncensored
        dialogue that is not contaminated by those seeking power, money, fame and sex. lt also must not be
        contaminated by Governments, Organized Religion, Businesses and Non-Profits. We also must expose
        our Government's sins and coverups. We must start by exposing the truth about the Katrina Virus
        (Compilation Term) and the Katrina Virus thought process. I could have called it the Tuskegee Study
        thought process as well. We thought it was a good idea to withhold penicillin from black men that had
        syphilis and we did this for 40 years. Syphilis is a horrific and barbaric death that is preventable with
        penicillin.


        we are so fragile that the Centers for Disease Control and Prevention                (CDC) publishes 246   different
        news letters that you can subscribe to and receive via your email.

           Reference: Amicus/Notice 1-41, - God give me the miracle of words to open their minds, hearts and
         souls, I beg you. Judges trust Medical Professionals (MedPros) to protect themselves, their families and
        their fellow Americans. Medical Professionals trust Judges to protect themselves, their families and their
                               fellow Americans. This      is   the textbook definition of Suicide and Genocide.




(Page 1 of Total)
                     Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 6 of 64

        USCA Case #19-5t21"                          Document #1-829856              Filed:   OZl19l202O Page 2 of LG


            S      The number one couse of death worldwide is the destruction of the lungs which results in the
                   destruction of the immune system(s). The ffonsfer of oxygen foits. Lung cancer is the number one
                   cause of death in the cancer fomily.


            Reference: Amicus/Notice L42 - Cancer deaths are bad. Cancer and Suicide deaths are really bad.
              Cancer, Suicide and lnfluenza and Pneumonia deaths are apocalyptic. All are underreported,
                                  intentionally misclassified and censored by our government.

        Why    this a big deal? Degraded lungs are the number one cause of death in the world. The failure of
              is
        the lungs to transfer oxygen into the blood triggers the failure of our immune system(s). The failure of
        our immune system(s) causes medical and mental maladies. Heart disease is caused by a degraded
        immune system(s) and lack of oxygen. Degraded immune system(s) reduce our ability to produce viable
        fetuses. Hence the negative birth rate^ Oxygen is our army. At current progressions mankind will cease
        to exist by 2050.




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        dch riste n son6(d hotm   a   i   Lco   m;


                                                           CERTIFICATE OF SERVICE


         I hereby certify that on February 10th,                                                   of Court and served the
                                  pleading on                                                     mail.



                                                          David Andrew Christenson




(Page 2 of Total)
         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 7 of 64




 AMICUS 159   -   October 1't, 2021 - DO YOU HAVE ANY IDEA OF THE RAMIFICATIONS !F A VACCINATED
                              SUPREME COURTJUSTICE DIES OF COVID19?


To: Jane Sullivan Roberts, Patricia McCabe, Jeffrey P. Minear, Marshal Gail A. Curley, Clerk Scott Harris,
Justice Amy C. Barrett. - Judge Ellen Lipton Hollander, Clerk Felicia Cannon, Chief Judge William PryorJr',
Clerk David J. Smith, Chief Judge Lee H. Rosenthal, Chief Judge Priscilla R. Owen, Clerk Lyle Cayce, Judge
Lynn N. Hughes, Clerk Nathan Ochsner, MarshalT. O'Connor, Vice Admiral John Christenson, lrving L
Azoff, Senior Judge Claude M. Hilton, Judge Liam O'Grady, Judge Anthony John Trenga, Judge Carl John
Nichols, Judge Amy B. Jackson, Judge Emmet G. Sullivan, and Judge John G. Koeltl.


Review Amicus 58. The CDC stopped tracking breakthrough cases on May I't,202L. The CDC cannot
know if the vaccine works and if it does, for how long. The CDC does not know the consequences of the
vaccine. The CDC has no idea how the vaccine damages our immune system, soul, or spirit.


Vaccinated Justice Kavanaugh testing positive for COV|Dlg compromises the inteeritv of our entire
Judiciarv. (You all plaved God.) (The boosters make vou a drue addict. Get vour vascular port now.)


Nine individuals have made the decision to vaccinate 300 million Americans without judicial oversight.
WHAT HAVE YOU DONE? YOU COMMITTED GENOCIDE. (Just a response to 14-1007 could have saved
us.) (You tampered with God's children.) (You have no idea of the medicalor mentalconsequences.)
(For national security purposes I hope that several members of the Supreme Court have not been
vaccinated. Remember that the creators of the vaccine are in essence Trump or Biden, your choice.)

Multiple members of the Supreme Court, including Chief Justice John Roberts, have degraded immune
systems and are susceptible to viruses, bacteria, fungi, etc.


Justice Kavanaush wi!! have to recuse himself from anv and all litieation involvine the COV|Dl9
vaccines. He was vaccinated and became infected. lt will leave eight justices. We will have different
opinions from different appellate courts.

This breakthrough infection is the atomic bomb heard around the world.


Any judge hearing a COVlDlg vaccine case and ruling in favor of the mandate and employment
termination policies should recuse themselves. The vaccine is a choice.

You all are drug addicts. You need your COV|D19, pneumonia, influenza, HPV, shingles, etc.    to live'

YOU HAVE GIVEN UNPRECEDENTED POWER TO OUR TYRANNICAL GOVERNMENT.


What diseases are the Haitians bringing across the border?

Godspeed - Sincerely, David Andrew Christenson
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504-715-3086-davidandrewchristenson@smail.com.-dchristenson6@hotmail.com.
          Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 8 of 64




 AMICUS 157    -   OCTOBER 1s, 2021- Supreme Court Justice Brett Kavanaush has luns cancer and has
                       developed mental illnesses which include suicidal ideations.


To: Jane Sullivan Roberts, Patricia McCabe, Jeffrey P. Minear, Marshal Gail A. Curley, Clerk Scott Harris,
Justice Amy C. Barrett. - Judge Ellen Lipton Hollander, Clerk Felicia Cannon, Chief Judge William Pryor Jr.,
Clerk David J. Smith, Chief Judge Lee H. Rosenthal, Chief Judge Priscilla R. Owen, Clerk Lyle Cayce, Judge
Lynn N. Hughes, Clerk Nathan Ochsner, MarshalT. O'Connor, Vice Admiral John Christenson, lrving L
Azoff, Senior Judge Claude M. Hilton, Judge Liam O'Grady, Judge Anthony John Trenga, Judge Carl John
Nichols, Judge Amy B. Jackson, Judge Emmet G. Sullivan, and Judge John G. Koeltl.


He is also delusional. Kavanaugh will continue to second guess himself into paranoia as will all of you.


COV|Dlg is, as are all viruses,   a   trigger that attacks the immune system. Symptoms may not appear for
years.


All Supreme Justices are now wondering why the COV|Dlg vaccine did not work. This will have a
psychologicaleffect on allof them. Kavanaugh is 55.


Have you heard the COV|Dlg term "long haulers"?


Nobody knows the damage or potential damage that the COV|Dlg infection has done to a vaccinated
individual.

The fact that his immune system did not protect him, at his age, should be of great concern.


People will spin that he was asymptomatic but in fact they do not know that'


Supreme Court Justice Brett Kavanaugh had a strong immune system and a vaccine, and he still got
covtD19.

This is a fact: As the COVlDlg vaccine degrades so does the immune system. Get you vascular port now.


This is the beginning of the end. Mankind committed suicide.

All we had to do was change the Narrative.




Godspeed - Sincerely, David Andrew Christenson
Box 9053 - Miramar Beach, Florida 32550
504-715-3086-dav1da11{tew-c-[tU-t9-nLot1@-gmai].-qo-r..-d-c,hris-t*eLq9-06--@-hglmptl.c-qu.
            Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 9 of 64



My books have been removed/censored/sonitized from the Librory of Congress. All references to me ond
my books have been removed/censored/sonitized from the Library of Congress. My books have Librory of
Congress Control Numbers (LCCN). This book wos placed into the Library of Congress in 2072.


                         The United States Supreme Court and The Katrina Virus
                              A Prelude/Reference Book/Appendix - Book 7
                                       By David Andrew Christenson
                                  ISBN 978-0-9846893-8-5 Hardback SCKV
                                   ISBN 978-0-9845893-9-2 EBook SCKV
                                             LCCN  2012933074
                                          Co pyright 1,-7 24L63643

                                           Persimmon Publishing
                                                  Box 9053
                                       Miramar Beach, Florida 32550


An Epic Constitutional Crisis. I am talking about the political destruction of all three branches (Executive,
Judicial and Legislative) of our Federal Government. One hundred and fifty five million Americans and
Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crimefelony. ln simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowledge? YES! I gave them the knowledge. The
realquestion is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-
up?


There was no simple way to present this story. I fully acknowledge that the material is presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstalking FBI Special Agent Steven Rayes on March 15th, 2011. lt must be
emphasized that I was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.)
and I have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the
FBI to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
ln simplistic terms chemical warfare contaminates were released from DOD and CIA classified facilities.
The United States Military conducted operational missions in violation of Federal Law and killed
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
burned in Federal Government incinerators? Are some of the bodies being kept alive in vegetative states
so that the Federal Government can study the long term effects of the Katrina Virus? (Remember the
Syphilis Studies in Alabama and Guatemala.)


This is a Prelude/Reference Book/Appendix. The end of the story has not been written. Judgment must
not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people.
        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 10 of 64




                                        Amicus 58 - August 7th,2021-


                                       Read the last paragraph first.
I have a math background from the Air Force Academy. The most important number we need right now
           is   the number of people who test positive for COV|D19 that have been vaccinated.

                                They are gambling with the fate of Mankind.


Breakthrough cases are epidemic and indicate that the vaccines will not protect Mankind but only
facilitate our demise. How can I say, "focilitote our demise"? lf we have Breakthrough cases then the
vaccines do not work, and our immune systems do not work. ln very simple terms our immune systems
were turned off and instructed not to fight COV|D19.

THE CDC IS TRACKING COVID19 INFECTIONS FOR THOSE THAT ARE UNVACCINATED BUT NOT THOSE
THAT ARE VACCINATED.


!F YOU ARE VACCINATED AND TEST POSITIVE FOR COVID19 THEN THE CDC DOES NOT WANT TO
KNOW PER THE CDC.


COV|Dlg is not going away, and they know that. The rush to make us slaves to a new and unproven
technology causes me great concern. lt would be different if they had used established technology. They
are not telling us something.


It would have been better for us to have fought COV|Dlg with our own immune systems. Our immune
systems are the greatest fighting force the world has ever known. Our immune systems have artificial
intelligence and are quantum computers.

The following was cut and pasted from the CDC website.
https://www.cdc.sov/vaccines/covid-19/health-departments/breakthrough-cases.html
"As of Moy 1, 2021, CDC transitioned            from monitoring oll reported vaccine
breokthrough cases to focus on identifying and investigating only hospitalized or
fatal cases due to ony couse. This shift will help maximize the quality of the dato
 collected on coses of greotest clinicol ond public heqlth importonce. Previous dqto
 on all vaccine breakthrough coses reported to CDC from January-April 2021
 are available."

How can the CDC state the following when they are not tracking Breakthrough cases? Since May 1't?

"COVID-19 voccines ore effective - Vaccine breokthrough coses occur in only o smoll percentage   of
voccinated people. To dote, no unexpected potterns hove been identified in the cose demogrophics or
voccine chorocteristics omong people with reported voccine breokthrough infections."


Godspeed - Dave
         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 11 of 64
  Case: 21-20311                 Document: 0051       5924448         Page:   1    Date Filed: 0710212021




Case No.21-20311 - Jennlfer Bridges; et al, Plaintiffs - Appellants - v. - The Houston Methodist Hospital,
Defendants - Appellees Movant David Andrew Christenson June 2gth, 2021.


 Amicus 18     - You are going to dle if you do not change the narrative. Kill yourself, but please do not kill
     our children and more importantly do not take away their God Given right to procreate. You are no
                                           betterthan Hitlerif you do.

China had a 1'H0LY FUCK". moment when they realized what they had stolen from the U.5, (lt happened
after the negllgent release of the Katrina Virus during Hurrlcane Katrina, the release of the Chines Spies
and when May Ray Nagan of New Orleans was quarantined in Chlna. Check the dates.)


KT McFarlandi "l w*s PresidentTrump's flrst deputy nationol security odviser and knew nothlng about
these potentially dongerous ooln-of-funetion reseorch projects, nor thdt the IJ,S, government wos
lunding   Chinese    lobs."   Read the attached article.


Do you realize what I am saying? The U.S., and now China, have a "gain-of-function" weapon, that is in a
one ounce viral. that if released will destroy Mankind withln seven days. 1'HOLY FUCK"

The cat is out of the bag. The world wlll discover the truth.


China realized that they had stolen a weapon that could destroy Mankind but that it could not be
controlled. They could not protect their own people. The U.S, already knew this.

You have been given the Federal case numbers where the Chinese Sptes were released by Federal
Judges. The FederalJudlciary has been complicit in the Genocide of Manklnd.


Think about the 40 plus year Tuskegee study.
                                                                                           f"Hffii,,m
What agreement did the U.S. enter into with China?
                                                                                                 JUL 012rl21
China and the U.S. were secretly working together at the Wuhan Lab.


Please read the attached opinion by KT McFarland.


This Amlcus was filed in the following cases:

United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The United States
of America - Court of Appeals No.: 21-10371


Gse No. 21-2031X. - Jennifer Bridges; et al, Plaintiffs    -   Appellants - v. - The Houston Methodist Hospitaf
Defendants     -   Appellees

Bridges v. Houston Methodist Hospital l4z2t-arOt774) District Court, S.D. Texas Judge Lynn Nettleton
Hughes
        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 12 of 64
    Case: 21-20311             Document: 00515924448 Page:2                  Date Filed: 0710212021




Neve v' Birkhead (1:21-cv-00308) District Court, M.D. North Carotina Judge Loretta Copeland Biggs
Legarreta v. Macias (2:21-w-00L79) District Court, D. New Mexico Judge Martha Alicia Vazquez


Klaassen v. The Trustees of Indiana University (1:21-cv-00238) Distrlct Court, N.D, lndiana Judge Damon
R   Leichty

Godspeed
Sincerely,
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davidandrewchristenson @email.conl.
dch ristensoJr 5@   hqtma i l.cqm.


                                            Certificate of Service

     I hereby certlfi/ that on June 28th,202!,1 filed the foregoing wlth the Clerk using CM/ECF and then
             served the pleading via CM/ECL U.S. First Class Mail and Email on June 28tt',202L.



                                         David Andrew   Ch   ristenson



KT McFarland: Second COVID cover-up - China, we know about but was there another one in the US?
Scientists insisted that anyone promoting the lab leak theory was an antFscience consplracy theorist
K.T. McFarland By K.T. McFarland I Fox News
https ://www.foxnews.com/opinion/second-covid-coveru      o-ch in a-us-Ft-mcfa rra nd
The world rightfully wants to find out what really happened in Wuhan and how what should have been a
run-of-the-mill virus set off a global pandemlc. We probably never wilt, however, because of the Great
Chinese Cover-up,
But is there another cover-up, hiding right here in plain sight in Washington?
Did America bungle our initial handling of the pandemic because a handfut of government scientists and
bureaucrats, and their unwitting media enablers, deliberately sent us off in the wrong direction in order
to cover up their own compllcity in creating COVID-19?
These scientists insisted that anyone promoting the lab leak theory, including our leading governors and
well-respected scientists, was a hysterical, xenophobic, anti-science conspirary theorist.
Did they react with such veloclty and venom because they were covering up fortheir own misguided
actions? What did they not want the world to know? That they were funding risky gain-of-function
research and genetically engineering fairly harmless viruses to make them more contagious, virulent and
lethal in order to study them? That they were awarding grants to an adversarial nation's research lab,
where the Chinese military was also involved?
 Did they do these things without the approval, or perhaps even knowledge of their bosses and therefore
 need to cover thelr track, lest the world demand answers for their rote for inadvertently contributing to
a   global pandemic?
      Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 13 of 64
 Case:    21-20311         Document: 00515924448 Page:                  3     Date Filed: 0710212021




lwas President Trump's first deputy national security adviser and knew nothing about these potentially
dangerous gain-of-function research projects, nor that the U.S. government was funding Chinese labs.
So, who did give the go-ahead to resume risky gain-of-function research? Government bureaucrats?
lf President Trump had been briefed, he NEVER would have agreed to it. First, he would have railed
against U.S. tax dollars being used to pay for research in Chlna. He was elected to change China pollcy,
not subsidize it. Trump, a notorious germaphobe, would have railed even more loudly against paying
mad scientists to create Frankensteln monsterviruses.
So, who did give the go-ahead to resume risky gain-of-function research? Government bureaucrats? The
so'called "expert class" who have been proven wrong again and again over the course of the pandemic?
Even if they were not specifically funding gain-of-function research at the Wuhan lab, what were we
funding there?
lf we weren't funding gain-of-function research in China, were we doing so at other labs in other lands?
Surely the decislon to create killer viruses capable of creating global pandemics lf mishandled should
have been made at the hlghest levels of government. But it wasn't,
We now learn that National lnstitutes of Health scientists, whose gain-of-function research was shut
down by the Obama administration, suddenly restarted it in January 2O!7,)ust as Donald Trump was
taking office.
When discussing the possibility of a lab leak in gain-of-function research, Dr. Anthony Fauci wrote "that
the benefits of such experiments and the resulting knowledge outweigh the risks." Tell that to a world
still in the throes of a pandemic that has caused almost 4 million deaths.
When President Trump entertained the lab Ieak theory, they blamed him for, the death of hundreds of
thousands of Americans, These sarne government experts urged their allies in the medla, social media
and Silicon Valley to censor and silence anyone who questioned their pronouncements. Evidence is
 mounting that it likely was a lab leak, and these same scientists thought so all along, but refused to say
so.
It is not fearmongering or conspiracy theorizlng to ask legitimate questions of our own officials. lt is only
prudent. We are just emerging from a global pandemic that has caused more damage to our society and
economy than a world war. Surely, we need to examlne every aspect of the origin and spread of COVID,
even if holding up a mirror to our own actions unveils a cover-up in Washington,
        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 14 of 64




   Amicus - 41-July 23'd,202L- Statistically/Mathematically Breakthrough COV|Dlg lnfections are         a

  majorindicatorthatthevaccinesarenotworkingfora@andthatbooster
                                  vaccines will be required indefinitely.


A Genocidal mistake was made. History   will record that it was Egregious, lntentional and Malicious.

The continual injection of vaccines will ultimately kill us by destroying our immune systems.


                                   I CANNOT MAKE THIS MORE CLEAR


Here is proof that I am right. The Biden Administration states that people with "compromised immune
systems" will need boosters.


THE VACCINES DO NOT WORK WITHOUT THE IMMUNE
SYSTEMS AND YET THE VACCINE DESTROY THE IMMUNE
SYSTEMS. (Alzheimer's is Biden's Hift                           to vou.l

YOU TOOK THE VACCINE. YOU COMMITTED SUICIDE.

Think about this. Our immune systems defend Mankind against an infinite number of viruses, bacteria,
and fungi every second of every day. Our immune systems have artificial intelligence, and they are our
armies. Every vaccine we give ourselves degrades our immune systems. We lose the ability to fight.

Our immune system is a medical quantum computer that would have analyzed the COVlDl9 virus and
then developed a defense for all mutations. This would have been communicated to Mankind via the
immune systems.

COVlDlg has been around since 2019. lt has equally impacted both the Northern and Southern
Hemispheres. This has never happened before. COVlDlg is the most complex virus in the history of
Mankind. lt is a Genocidal Virus. We die by the virus or the destruction of our immune systems if we
continue with the "Vaccinate at all Costs".

You cannot have "Herd lmmunity" with vaccines when the virus is constantly mutating. Mathematicallv
we had "Herd lmmunitv" at Thanksgiving 2020 until we started vaccinating.

COV|D19 is mutating and not going away.


Medical Experts do not understand statistics. They do not understand the consequences of
Breakthrough cases. The mentality they use is the same that they have used for suicides for 30 plus
years and it is why mathematically suicides will outnumber births in a few years.
          Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 15 of 64




BY DAVID ANDREW CHRISTENSON: THE NET INCREASE IN PROTECTION FROM THE COVID19 VACCINE
IS MINOR COMPARED TO THE DAMAGE            -   REDUCED PROTECTION . THAT THE VACCINE INFLECTS ON
OUR IMMUNE SYSTEMS.


There are two reasons that Breakthrough lnfections are taking place. The Delta or Lambda Covid19
Viruses are stronger than the original COVIDlg Viruses and the individual's immune system is
compromised by the original vaccine.

This Amicus was filed in the following cases:


    1. Writ of Mandamus and Writ of Mandamus 14-1007 Supreme Court
    2. Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton Hollander
    3. Alters v. People's Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula
          Mancusi Ungaro
    4.    Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D.
          New York Judge John George Koeltl
    5.    United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The
          United States of America - Court of Appeals No.: 21-10371
    5.    Case No. 2L-2O3LL - Jennifer Bridges; et al, Plaintiffs - Appellants - v. - The Houston Methodist
          Hospital, Defendants - Appellees
    7.    Bridges v. Houston Methodist Hospital (4:27-cv-0L774) District Court, S.D. Texas Judge Lynn
          Nettleton Hughes
    8.    Neve v. Birkhead (1:21-cv-00308) District Court, M.D. North Carolina Judge Loretta Copeland
          Biggs
    9.  Legarreta v. Macias (2:21-cv-00179) District Court, D. New Mexico Judge Martha Alicia Vazquez
    10. Klaassen v. The Trustees of lndiana University (1:21-cv-00238) District Court, N.D. lndiana Judge
        Damon R Leichty


Godspeed - Sincerely,


On File


David Andrew Christenson
Box 9063 - Miramar Beach, Florida 32550
504-715-3086-davidandrewchristenson@gmail.com.-dchristensonS@hotmail.com.

                                               Certificate of Service

I hereby certify that on July 23'd, 2O2t,l filed the foregoing with the Clerk using CM/ECF and then served
                the pleading via CM/ECF, U.S. First Class Mail and Email on July 23'd,202L.

                                                      On File


                                          David Andrew Christenson
       Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 16 of 64




THE FOLLOWING IS MATHEMATICALLY IMPOSSIBLE UNLESS THE CDC
ls LYtNG, AND YES, THE CDC lS ADMITTING TO THE LIES/FRAUD.

[The quarantine, masks, vaccines, CENSORSHIP, etc. were the worst things we could have done. We will
continue with the Genocide of Mankind unless the Judiciary/Supreme Court upholds and honors the
Constitution. STOP THE GOD DAMN CENSORSHIP AND ORDER A RESPONSE.I

                                THE VACCINE WILL NOT PROTECT YOU.


    THE BOOSTERS THAT YOU WILL RECEIVE WILL CONTINUE TO DESTROY YOUR IMMUNE SYSTEM.


The arrogance of it. The CDC and coconspirators are scaring people into getting the COVlDl9 vaccine.


Per the CDC: lnfluenza and lnfluenza Deaths were eradicated for the 202012021 lnfluenza and
Pneumonia Season. THIS INFORMATION WAS AND lS A CRIMINAL FRAUD.


There was a 97% - 99% reduction in lnfluenza Deaths and that is mathematically impossible. There are
decades of records, and this has never happened. The CDC publishes the last 13 years of lnfluenza and
Pneumonia Deaths every Friday with the CDC Flu View Report. lt is a weekly rolling report shown as an
Excel Spreadsheet. I have provided it to the court on numerous occasions.


There has been only one pediatric death (18 and under) this year. lN the last three years there were:
L88,144, and 199 Pediatric lnfluenza Deaths per the CDC. The season corresponds to the fiscal year and
ends September 25th, 2021. https://www.cdc.eov/flu/weeklv/index.htm


THE CDC CLASSIFIED EVERYTHTNG AS COVID1g. THE CDC ONLY TESTED
FOR COVID19. THE CDC CLASSIFIED PNEUMONIA AND INFLUENZA
DEATHS AS COVID19 DEATHS.



07 /2L|2O2L: Lab   Alert: Changes to CDC RT-PCR for SARS-CoV-2 Testing
 https://www.cdc.eov/csels/dls/locs/2021107-21-2021-lab-alert-Chanees CDC RT-PCR SARS-CoV-
 2 Testine 1.html "CDC encourages laborotories to consider odoption of a multiplexed method thot con
facititote detection and differentiotion of SARS-CoV-2 and influenza viruses." (Are you kidding? We did
not do this already. DAC)

CORONAVIRUS Published       thours ago By Caitlin McFall - Fox News - CDC urges labs to use COVID tests
that can differentiate from flu - Laboratories have until the end of the year to make changes to their
testing practices - https://www.foxnews.com/health/cdc-labs-covid-tests-differentiate-flu
        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 17 of 64




The Centers for Disease Control and Prevention (CDC) urged labs this week to stock clinics with kits that
can test for both the coronavirus and the flu as the "influenza season" draws near. (Why did the clinics
stop stocking lnfluenza ond Pneumonio kits? The CDC wanted oll dato to show COV|DL9. DAC)


The CDC said Wednesday it will withdrawal its request for the "Emergency Use Authorization" of real-
time diagnostic testing kits, which were used starting in Februarv 2020 to detect signs of the
coronavirus, by the end of the year. (We hove fraudulent doto dating back to February 2020. The CDC
wonted a COV\DTS Pondemic. DAC) (We did not hove lnfluenzo becouse we did not test for it, DAC)

                                                          to have adequate time to select and
"CDC is providing this advance notice for clinical laboratories
implement one of the many FDA-authorized alternatives," the agency said.

The U.S. has reported more than 34.4 million cases of the coronavirus since the pandemic began in 2020
and more than 610,000 deaths. (FRAUD - the 34.4 million cases include false positives and positive flu
ond pneumonio cases. The 61.0,000 deaths include influenzo and pneumonia deaths. DAC)

But while cases of COVID-19 soared nationwide, hospitalizations and deaths caused by influenza
dropped. (semontics - lnfluenza did not just disappear. DAC)

According to data released by the CDC earlier this month, influenza mortality rates were significantly
lower throughout 2020 than previous years. (Mothematically lmpossible. DAC)

There were 645 deaths relatine to the flu amone adults reported in 2020. whereas in 2019 the CDC
estimated that between 24.000 and 62.000 people died from influenza-related illnesses. (Agoin, this is
mothemoticolly impossible. The CDC does not include pneumonio deoths which ore about 300,000 per
yeoT, IT APPEARS THAT WE HAD      A   REALLY BAD FLU YEAR, DAC)


The CDC urged laboratories to "save both time and resources" by introducing kits that can determine
and distinguish a positive test for the coronavirus and flu.


"CDC encourages laboratories  to consider adoption of a multiplexed method that can facilitate detection
and differentiation of SARS-CoV-2 and influenza viruses," the agency said Wednesday.


Laboratories will have until the close of 2021 before the CDC officially withdrawals its Emergency Use
Authorization of the Real-Time RT-PCR Diagnostic Panel.




Godspeed - Sincerely,
David Andrew Christenson
Box 9053 - Miramar Beach, Florida 32550
504-715-3086
davidandrewch ristenson @gma il.com.
dch riste nso n6@ h.otm a i l.com.
         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 18 of 64




Trump v. Twitter, lnc (L:2L-cv-22441) District Court, S.D. Florida Judge Robert Nichols Scola Jr.
Friend of Court Brief filed by David Andrew Christenson October 4th,2O2t


                                                Friend of Court Brief   !
Judge Scola,


Mathematically mankind will cease to exist in the next few years, Mathematically suicides will
outnumber births in the next few years. Birthrates are negative. Life expectancies are decreasing.
Americans have lost the ability and desire to procreate. ln the last Census the U.S. population grew by
about 23 million but 11- million were immigrants. The population increase was7.4Yo but we need at least
1,1% to replace our population. We have more immigrants than any country in the world - 40 million
plus.


President Joe Biden has stated, for the record, that you will need a booster in 8 months, 6 months, and 5
months. They are discussing the process of installing vascular ports on allAmericans so that they can go
to the pharmacy and get a COV|D19 vaccine capsule that they can installthemselves.

All of this has been censored bv Twitter and Jack Dorsev. I cannot invent this stuff and truth      is
stranger than fiction.

Twitter and Jack Dorsey did not censor me originally. When the FederalJudiciary started to docket my
pleadings, they censored me.


Appeal Number: 2O-13766-F Case Style: Marta Reyes, et al v. David Christenson District Court Docket
No: 1:20-cv-21108-UU
Attached are pages     !,2,3,!3,16,24,28,29        - USCA11 Case:20-13766 Date Filed:02/O8l2O21.Page:Lof
32   total paees.
Attached are pages     !,3,4,5,    6 - USCA11 Case: 20-13766 Date Filed: O2/O8/2O21Page: 1 of 144        total
pages.




Godspeed

Sincerely,


David Andrew Christenson
Box 9063
Miramar Beach, Florida 32550
504-715-3086
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d   ris ! e! s-q a_6-@_f qt m -q.iJ. _c-q m .
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             Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 19 of 64

                           USCA11 Case: 20-13766                                       Date Filed: 0210812021 Page: 1 of 32


Appeal Number: 20-13766-F Case Style: Marta Reyes, et alv. David Christenson District Court Docl(et
No: L:20-cv-21108-UU


                                                                                          Amicus


Full Disclosure               *   FYl.



See attachment,




Godspee


Since/elV,




David Andrew Christenson
P.O. Box 9063
Miramar Beach, Florida 32550
504-715-3086
d a-vtfl,a   grl   r   e   UqbI   s-t   qjr s o   n (ri g rn a i L c   o*r-1.1.


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              I hereby certify that                                                      ltfit           foregoing with the Clerk of Court and
                              served the                                                                    e-mail and first-class mail.



                                                                                  David Andrew   Ch   ristenson
         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 20 of 64

              USCA11 Case: 20-13766                Date Filed: 0210812021 Page: 2 of 32


US Dominion, lnc, v, Powell (1:2L-cv-00040) District Court, District of Columbia Judge Carl John Nichols

Movant David Andrew Christenson


       Motion for Leave to file Amicus   *   Reconsideration   -   With Corrections Ordered   by Judge Nichols


Judge Nichols,


Co   rrections.


(There is no coherent way to state my case. President Joe Biden's brother, Franl< Biden, a non-attorney,
but Senior Advisor for the Berman & Berman Law Group, filed a Response with the 11tl' Circuit to my
Motion to Dismiss my own Appeal. I filed the Motion to Dismiss my own Appeal in October of 2020 and
it was docketed on october 20rh, 2020. The Response was filed two days after the election. Why file a
response to a Motion to Dismiss? Here are the weird parts. lasked forthe dismissal to occur on January
21't,202L, the day afterthe lnauguration. I knewthat Hunter Biden was connected to the case because
of lsrael and the Mossad but ldid not know about Frank Biden's connection untiljust afterthe
lnauguration. See attachments.) (Whv did Frank Biden want the j.1th Circuit to expedite the dismissal?)

What if you publicly docl<et my pleadings and Dominion withdraws their complaint?

This case is about more than the parties. This case is about our Constitutional Right to a fair election.


As an American I am interested in this case because it involves the 2020 Presidential Election and the
impending lmpeachment trial of President Donald Trump. What if Trump was right? Our country is being
fractured and may not recover. 47% of those that voted, voted for Trump. 4% of those that voted, votecl
for Biden because they hated Trump, Either way, 47% or 51%o, you have a major problem if you alienate
such a large percentage of the population in such a contentious manner. We just had 25,000 U.S. troops
is Washington D.C. for the inauguration, it looked like a war zone. I think that is enough to be an
interested party.

My support is for the American People, the Constitution and most importantly the Truth. My support               is
also for you, as the Judge. My information will educate you and thus protect our country. This case is
more important than you realize.

Attorney General Barr made it clear that there was election tampering, but he qualified by stating that it
would not have made a difference. Start with the Second District is Nebrasl<a. The outcome was
statistically impossible. That one electoralvote could have made the difference. Was Dominion
involved?


This complaint will explore election tampering, fraud, defective security of early voting, mail in votes and
absentee ballots, etc. lt will also explore computer hacking. The complaint was filed for Billions of
dollars. To what extent was Dominion involved?The 2020 Presldential Election occurred during a
Pandemic. The election process was not prepared, and neitherwas security. There was a tenfold
increase in alternate voting. lf you look at Wisconsin, Pennsylvania, Michigan, and Georgia you will see
           Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 21 of 64

                  USCA'I1 Case: 20-13766                                  Date Filed: 0210812021 Page: 3 of 32


that the voter totals differed by less than                           1% or close   to it, THtS WAS THE MOST   TNSECURE ELECTTON tN
THE HISTORY OF THE UNITED STATES BECAUSE OF THE PANDEMIC, CLOSENESS OF THE VOTE TOTALS IN
cRlrlcAL       STATES        AND ALTERNATE vorlNG. what was Dominions involvement?

Neither party has responded to me.

Attachment 1 is a document about the incompetence of the United States Postalsystem. Did Dominion
know about the problems with the USPS? Did Dominion disclose this information? How accurately were
ballots counted that arrived by mail and how many actually arrived? Ballots delivered or not delivered
bv mail were the difference in the five most important states.

Attachment 2. This is a weird set of documents and I mean weird. The 1.1il'Circuit tool< no action on my
pleading and then the next day they accepted the pleacling. Review the Docket which is attached. Judge
Ungaro allowed me to file 100 plus pleadings/letters in Alters v. People's Republic of China (1:20-cv-
21108) District Court, S.D. Florida Judge Ursula. This is a Class Action Complaint against the People's
Republic of China that accuses them of negligently releasing COV|D19. The lead party is a disbarred
attorney and chief strategist for the law firm that filed the complaint, Berman & Berman Law Group.                               I



filed an appeal when Judge Ungaro stopped me from filing and that is where it gets interesting. THE 11rH
CIRCUIT WANTED MY APPEAL. WHY? Judge Ungaro would not docket my Notice of Appeal. The l-1th
Circuit sent notice to docket the Notice of Appeal. lt is all in the record.


Attachment 3. This is the Response from Frank Biden and the Berman & Berman Law Group. Read the
last page first.



Godspeed - Sincerely, - David Andrew Christenson - P.O. Box 9063 - Miram                                           orida 32550
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                                                                    CERTIFICATE OF SERVICE


   I hereby certify that on                                                         foregoing with the Clerk of Court and served the
                        pl



                                                                   David Andrew Christenson
        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 22 of 64

                 USCA11 Case: 20-13766 Date Filed: 0210812021 Page: 13 of 32
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Chief Judge Williarn [:ryor                      Jr.                                                             January Zgtt',   202.1
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56 Forsyth St,, N.W:-'-,.-.*..
Atlanta, Georgia -t0303

Judge Ellen Lipton l-lollandcr (Standage v. llraithwaite (l:20-cv-02830)l)istrict Court, D. Maryland Judge
t llerr l.ipton l-lollarrder')
Federal Court
101 Wcst l-onrbard Street
Chanrbers 5B
Baltirnore, MD 2120.]

llefrlrerrce: Iltr'Cirr:r.rit 20-137fr6                     * F ancl tht, dtt;rclrr,icl whiclr was clor:kete.ri.

This is ltow God opotts a door l'or rtte arrrl trits nre s(lLtare in the face witlr a two-by-l'our. larn 8 clays late.


l)id you krtow that [:rattcis (l]r'arrk) Uiderr, l:rother oI tlre President, was Serrior Advisor (Norr,Att.orney) to
the Bermarr Law Groupi'

Did you krlow that Jerenly Altr:rs is the Clrir.rf ,,'ru, trr.tt-"gist ('"Non-Attorrrey) [n lerc:nry Altc:rs is                           a
disbarred nrtrt-lawynr r:mployoc.l for tlre lir,tr rnan Law Group /

Did you knclw tlrat Jr:renry Alters is the krad Pl.rirrtitf irr tlris case?


I never utrdelrstoocl why the [Jerrrtan l.aw (iroup f iled a ftesltonse to                                 r]y Motion to l)ismiss, urrtil now.

Please grarlt rhe attaclred Motiorr ancl                                  givr rne.30   riays to l'ile a cohelerrt Appeal




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    Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 23 of 64

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                    USCA1 1 Case: 20-13766 Dater Filbd: 1$IAAD\ZA page: fl of 3



Chlef   judge Willianr Pryr:r Jr.                                                   0ctober 16th, 2020
tlth    Circuit
56 Forsyth 5t,, N.W.                                IIECEIVEI]
Atlanta, GeorHla 30303                                CLEHK



David J. Smith
Clerk   of Ccrurt
L1th Circuit
56 Forsyth 5t., N.W.
Atlanta, Ge0rgia 30303

Reference: 20-13766 -- F (Motion to Stay and ttren Motionrto Dismiss.)

'lhank you
           for giving me a voice and thus Mankind, I don't want to waste your t1me. Judg,e Ungaro gave
me a real voice and rrobody listened so I don't know what.l would a;.rpeal.


Ibelieve in miracles so I anr asking you to stay itnd then clisrniss the appeal on January          2L"1   2.020, the day
after the inauguration, Just in case God shows nre a light, lf you can't that is fine.

odd thing. I was angry with Reality Winner and her farnily for gelting connected to Michaei Cohen. What
were they thinking? I have this strange f'eeling that Winner's mom lil<es the spotlight and has a forrn of
Munchausen syndrorne by proxy. I have not been following the pleaclings hecause it costs me money
and I don't lrave any. Everythin6 Cohen stated had alrea<jy been done. I cJespise people like that. I might
be craey but at ieast I am not Cohen. I arrr sympathetic to Winner.


I may drive over to lacksonville and attencl the Winner hearing in November anci I hope that is not a
problem. Please let me kttow if there is a problern lvith me attending. Clerk Cayce from the Stl, Circuit
rnight vouch tbr my professionalism.

After the inaueuration I have to {ind something-!-Q_do. Do,vou have.iltother.fisht for r[q?.



6odspeed




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Miramar tseach, Florida 32550
504-7J.5-3086
davidandrewchriste nson @gm ail.com;
dchristenson6       @   hotmail.corn;
Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 24 of 64

  USCA11 Case: 20-13766 Date Filed: 0210812021                                     Page: 24 of 32
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                                    CASE NO.: 20-13766-F



             IN THE UNITED STATES COURT OF APPBALS
                   FOR THE BLEVENTH CIRCUIT


                                  DAVID CHRISTENSON,

                                                             Appellant,

                                                     V.


                                   MAIITA REYES, et al.,

                                                             Appellees.


RESPONSE TO APPELLANT'S MOTION TO VOLUNTARILY DISMISS



                                    MARTA REYES, et al.



                             MATTHEW T. MOORE, ESQ.
                                   Tlre Beruran Law Group
                                   Post Office Box 272789
                                  Boczr Raton, Florida 33427
                                      Ph: (561) 826-s200
   Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 25 of 64

          USCA11 Case:           20-13766           Date Filed: 0210812021 Page: 28 of 32
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20-13766-F
Dctvid Christenson r,, Morta                 Re1,e,e, s1 ,7.


                            RESPONSE TO APPELLANT'S MOTION
                           TO VOLUN'I'ARILY DISMISS HIS APPEAL

          COME, NOW Appellees, Marta Reyes and the other Named Plaintiffs in

Class Action No. 20-cv-21108-UU, pending ir-r the Southern District of Florida,

and pursuant to Fed.R.App.P.42(b) and 1l1r'Cir. R.42-1. hereby respond and

agree     to Appellant's tnotion to voluntarily dismiss his appeal, and in                                           support

thereof, state as lbllows:

          1.         This appeal was docl<eted on Ocrober 1,2020.

          2.         On October 20, 2020, a letter fi'orn Appellant Davicl Christenson,

styled as a motion to voluutarily dismiss his appeal was received by the Court.

Appellant' letter motion is attached as Exhibit                              A.     -fhis letter motior-r was not

served upott undersigned connsel                       by Appellant, and it was not errtered on tlre

docl<et   until Noverrrber 2,2020. Thus. this respouse is timely.

          3.         In his letter nrotion, Appellant olearly states "l don't want to tvttste

yoLtr time, Jrulge Ungcrro gave tne a real voice untl nobodlt listened so Iclon't

lcnoy, whut      I   wottlcl crppeul." See Exhibit                A.    I-{e lhen enl<s that the Court clisrniss

the appeal, but after a stay throngh the presidential irraugtrration. However,                                            he

further states: "lJ'yor.r can't l.ttay the appealf , that isJine." See                           icl.


        4.           Appellees conrpletely agree that the appeal should be dismissed now

and do not oppose Appellernt's voluntary disrnissal.
   Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 26 of 64

      USCA11 Case: 20-13766 Date Filed: 0210812021 Page: 29 of 32
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20-13766-F
David Christenson v, Mqrta Reyes, et al.

        5.      Moreover, there is no basis to stay the appeal. Appellant has not paid

the filing fee or filed to proceed in.forma pauperis, and in his letter nrotion states

that he has no l'nolley. See id.

        6.      Furtherurore, ol1 its face, since Appellant admits              "[ don't know what I
would appeal," then pursuant to              lltl'Cir. R.42-4, tl're appeal is self--adnritteclly
l'rivolor-rs and rnay be distnissed. See Ex. A.

        7.      Since it appears that the appeal lras not beerr assigned to a panel on the

trrerits, then pursuant      to l1lh Cir. R 42-4(a), the clerk rnay clerically dismiss              the

appeal.

        WI-IEREFORE, Appellees l-rereby agree to Appellant's nrotion to voluntarily

disrniss the appeal, and respectfutly request that this appeal be dismissed, and lor

such other reliel'as the Court rnay deerrr.lust and proper.

       Dated: November 5, 2020.

                                                 Respectfu I ly submitted,

                                                 /s/ Matthetu T. Monre
                                                 Matthew T. Moore, Esc1.
                                                 Fla. Bar No. 70034
                                                 rn nr oore@th ebe rm anlii';gi'oiip. cc m
                                                 s l< ri eger@tlr ebe rrnanl awgroup.com



                                                 Vincent J. Duffy, Esq.
                                                 Fla. Bar No. 8215 t
                                                 servi ce@th ebe rrn an I awgro     Llp.   corl'l
                                                 vd u flfy@thebenr anl awgroup. corlt



                                                    2
       Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 27 of 64

           USCA11 Case: 20-13766               Date Filed: 0210812021           Page: 1 of 144



Appeal Number: 20-L3766-F Case Style: Marta Reyes, et al v. David Christenson District Court Docket
No: 1:20-cv-21108-UU


    Supplemental Motion for Leave to file a Motion for Reconsideration and Motion to Re - Open the
                                                   Appeal.


[Think about this as you read the pleading. This is a Class Action Complaint filed on behalf of all
Americans and that includes President Joe Biden. I specifically asked the court to stay the Appeal until
the day after the inauguration. ln simple form. The President of the United States is suing the People's
Republic of China through his family. The grotesque part is that the President is not suing the People's
Republic of China for us. The case is unwinnable because COV|D19 is connected to New Orleans which is
the Chemical Warfare Capital of the World and President Joe Biden knows that. What        is   the sinister goal
of the Class Action Complaint besides money?)


The simplicity of this Appeal is amazing. lf the Court orders a Response, then Americang prevail. Right or
wrong, the ordering of the Response will change the Narrative and that is what we need right now.


The Constitutional Question that satisfies the Preamble. ls COV|D19 connected to the Katrina Virus?         I

have stated repeatedly that COV|D19 is a trigger virus.


This case is unique in that it directly involves President Joe Biden via his brother, Frank Biden, and his
son, Hunter Biden. President Joe Biden was a U.S. Senator for 36 years and the Vice President for 8
years. The Katrina Virus was released in New Orleans during Hurricane Katrina in 2005 because of
negligence. President Joe Biden was elected to the U.S. Senate in t972 and is thereby responsible for
the negligent release of the Katrina Virus and the current Pandemic.

It also is unique because it involves COV|D19 and the People's Republic of China.


Would the United States be in a Pandemic if the Supreme Court had ordered a Response to Writ of
Manda mus a nd Prohi bition 1.4-L0077 ?


Godspeed - Sincerely, David Andrew Christenson
P.O. Box 9063 - Miramar Beach, Florida 32550
504-715-3086-davidandrewchristenson@smail.com.-dchristenson6@hotmail.com.


                                          CERTIFICATE OF SERVICE


        Iherebycertifythaton February 6th,202L lfiledtheforegoingwiththeClerkof Courtand
                served the pleading on all counsel of record by e-mail and first-class mail.



                                          David And rew   Ch   ristenson
        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 28 of 64

             USCAI 1 Case:   20-13766       Date Filed: 0210812021 Page. 3 of 144



                                        CASE NO.:21-XXXXX




                               IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE ELEVENTH CIRCUIT




                                        DAVID CHR!STENSON,
                                               Plaintiff
                                                  v.
                                      United States of America,
                                             Defendant



                             Writ of Prohibition and Writ of Mandamus.

                                                  &

                                       Constitutional Question



                                   Filed on Behalf of all Americans.




Godspeed


Sincerely,


(on file)


David Andrew Christenson
Box 9063
Miramar Beach, Florida 32550
504-715-3085
davidandrewchristenson@gmail.com.
dchristenson6@hotmail.com.
       Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 29 of 64

           USCA11 Case:      20-13766           Date Filed: 0210812021 Page: 4 of 144



                                         Constitutiona     I   Question


Does our Government have a right   to lie to   us?


                                   Writ of Mandamus and Prohibition

This is Moot if the Honorable Court Orders the Government to Respond to the Attachment.


What parts of the attachment are true, and which are false?


                                                     Conclusion


Something so simple as a response could change the Narrative and thus give us a chance,


                                                One Question


ls COVIDl9 connected to the Katrina Virus?
       Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 30 of 64

          USCA1'1 Case.       20-13766        Date Filed. 0210812021 Page: 5 of 144




  The Supreme Court Murdered
                                      Mankind
                            Writ L4-10077
                        The Katrina Virus
    By David Andrew Christenson
                                           November 8th, 20L5


 The United States developed the perfect military weapon. This weapon was organic, easy to disperse,
dissipated in five days and the result was the opposing army committing suicide. This weapon contained
         a derivative of the Katrina Virus and was negligently released during Hurricane Katrina.


       The Supreme Court has covered up the release and the impending Genocide of Mankind.


                        They classified me as a terrorist for trying to inform you.


October 12th, 2050 is Mankind's final day. Cause of death will be suicide related to the Katrina Virus (A
                                           compilation term).


                            Mankind's immune system(s) is being destroyed,


   The number one cause of death will be related to the respiratory system, i.e. flu, pneumonia, etc.


                           Suicides will surpass births between now and then.


  The world will not be able to support the financial (medical) costs associated with the destruction of
                                      Mankind's immune system(s).
       Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 31 of 64

           USCA11 Case: 20-13766                Date Filed: 0210812021            Page: 6 of 144



                                  The Supreme Court Murdered Mankind
                                                Writ 14-10077
                                               The Katrina Virus
                                       By David Andrew Christenson


                                                     lndex


This is DOCUMENTATION for the Genocide and the Crimes Against Humanity that was and is being
committed by the Supreme Court against Mankind.

Original documentation received from the Supreme Court is included in the second book: "The Supreme
Court Murdered Mankind Original Documentation from the Supreme Court" and will be identified          as

ODSC Book 2 (ODSC Book 2)


Do not doubt what you are about to read as all of it is factual and verifiable.


Please do not judge me as the messenger. Please judge the message, incoherent and disjointed as it may
be, I am a Federal Whistleblower who never received any training or education on how to prevail. I did
the best I could, considering I was fighting a corrupt system that had no use for the Constitution and the
fact that I had no money and no support from anyone and that includes those people that had an
ethical, moral and legal obligation to help me and mankind. I reached out to over 100 law firms and law
schools as well as Whistleblower non-profits.


The original Writ 14-10077 Extraordinary Writ with Writ of Prohibition and Writ of Mandamus was
stolen from my home after it was docketed by the Supreme Court. I believe the FBI is responsible for the
theft as it was the only item taken. I have tried to duplicate the original Writ as best I could. Duplication
of the Writ became even more complicated when Microsoft closed my primary email account on behalf
of the Department of Justice. I used davidandrewchristenson(at)hotmail.com for all of my legal notices
and for storage. The FBI destroyed three of my computers and all of my backups. I thought the "Cloud"
would be safe. The Supreme Court refused to provide me with    a copy of the original Writ. Clerks Jeffrey
Atkins 202-479-3263, Chris Yasil202-479-3027 and Scott Harris202-479-3000, etc. refused to provide
me with a copy after repeated written and verbal requests. (All attachments have not been included
because of space and financial limitations.)


Please reference United States Court of Appeals for the District of Columbia Circuit: L4-5207 Larry Elliot
Klayman v. Barack Hussein Obama andt4-52L2 Rand Paulv. Barack Hussein Obama. There is substantial
documentation, over 100 unanswered pleadings, in the two appeals that are available on line and via
Pacer. The critical omission from the dockets, even when the court ordered, is that the Department of
Justice never filed any response, objection, pleading, memorandum, motion, etc. and yet the appeals
were dismissed. I filed for Summary Judgement. I filed a motion to join/intervene in both class action
complaints that were filed on behalf of the American People because I had cause and standing. The two
original class action complaints were filed in the District of Columbia District Court.
             Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 32 of 64




Trump v. Twitter, lnc (1-:21-cv-22441) District Court, S.D. Florida Judge Robert Nichols Scola   Jr,
                                                                      th,2021"
Friend of Court Brief filed by David Andrew Christenson October


                                                                 Friend of Court Brief 4


Judge Scola,


Did you know what was in the attachment?


Have you heard of it?




David Andrew Christenson
Box 9063
Miramar Beach, Florida 32550
504-715-3085
do v-Ldand rew-cfu rgle n s-q L@gm atl,            Q   e   !n,
d e,h-riS-!_e"l   s   o n €@   hSlm al.q.o-m   .
      Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 33 of 64




                        UNITED STATES COURT OF' APPEALS
                             rOR THE FIFTH CIRCUIT

               Third Open Letter to Chief Justi-ce Car]. Stewart
Case No. 16-30918

IN RE: DEEPWATER    HORIZON

T,AKE EUGENIE LAND    & DEVEIOPMENT,     TNCORPORATED;   ET A],,

                                    Plaint i f fs
V.
BP EXPLORATION & PRODUCTION, INCORPORATED; BP AMERICA PRODUCT]ON
COMPANY; BP, P.L.C.,

                              Defendants - Appellees
V.

                          DAV]D ANDREW CHRISTENSON,
Movant - Appellant.




David Andrew Christenson
Box 9063
Miramar Beach, Fl. 32550
davidandrewchris tensonGgmai I   . com
dchri stenson6Ghotmai l- - com
504-715-3086
           Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 34 of 64




Chief Judge Carl Stewarl                                                             August 30'h, 2017
5thCircuit
300 Fannin Street
Suite 5226
Shreveport, LA 7 11.013A7 4

Judge Stewart,


The following paragraph was taken from Supplemental Designation Memorandum Three This is how
close we are to extinction We are within .3% (.003) Case: 16-309L8 Document: 00513859493 Page: 1
Date Filed: 01/25/2017 5th Circuit Court of Appeals.


      L.   Pneumonia and lnfluenza are preventable if people have a strong immune system. The Katrina
           Virus has destroyed our immune system(s). The Katrina Virus is a compilation term. Think of it as
           an anti-social norm, an anti-way of thinking. We must drastically change our way of thinking and
           the way to do this is by exposing the truth. Mavbe a better term is the "Katrina Anti-Social
           Norm". Our failing to change will result in our suicide. Mankind is killing himself because he
           won't embrace an Anti-Social Norm. (We will have a vaccine for everything.)

Here is the proof that we are "Bubble People" courtesy of President George W. Bush, President Barack
Obama and Chief Justice John Roberts. After Hurricane Katrina and the release of the Katrina Virus
President Bush knew that he had to do something major to fight chemical warfare agents and manmade
viruses. He selected Texas A & M in College Station Texas because that is where his father's Presidential
Library is and it is in his home state. (Connected to the Veterinary College because they need pigs and
birds (chickens) for testing. Pigs are closely representative for a human when testing vaccines) The
campus is also close to the Gulf of Mexico and New Orleans where the BP Oil Spill took place with the
release of the Katrina Virus and the use of Corexit.


      2.   When fully functional, the facility is expected to have the capacity to produce the bulk antigen
           needed for up to 50 million adjuvanted pandemic influenza (Katrina Virus) vaccine doses within
           four months of a declored influenza pandemic and availability of acceptable virus seeds.

This facility is a chemical warfare facility that was built on the Texas A & M campus in College Station
Texas. See attachment 1. (l love the word "declared", it literally means "screwed", past tense.)


It is almost impossible to find acceptable seeds for influenza (Katrina Virus). Four months is a lifetime for
viruses to mutate and travel the world. lt has been statistically proven that the influenza and pneumonia
vaccines that Americans receive do not work. People survive the flu and pneumonia on their own if they
have a strong immune system and not one that has been degraded by previous vaccines.


Video 708 (attachment 1) which I produced in September 201.4 and released on October 1't, 2014 was
available worldwide until the US Federal Government removed/censored it from the internet. All 750 of
my videos have been removed/censored from the internet by the US Federal Government.
         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 35 of 64




    3.   With the Texas A&M CIADM's advancement of the Pandemic lnfluenza Vaccine Facility and the
                                 - along with the recent retrofit completion of the Texas A&M
         Viral-based Vaccine Facility
         National Center for Therapeutics Manufacturing, which offers flexible and adaptable
         biopharmaceutical development and manufacturing capabilities - the center is on track to meet
         its mission of bolstering the nation's preparedness and response to public health threats,
         whether in the form of a naturally occurring emerging infectious diseases or a bioloeical
         terrorist attack.

    4.   Texas A&M regents approve millions for building projects By Steve Kuhlmann
         steve.kuhlmann@theeagle.com Nov 11, 2016 2
         http://www.theeasle,com/news/local/texas-a-m-resents-approve-millions-for-buildins-
         proiects/a rticle f8b8364d-6426-5427-bbef-a887e89086da.     html
         Amongthe local   projects include the $76.5 million biocontainment research facility project -
         known as the Global Health Research Complex -- a $tO:.S million Medical Research and
         Education Building project at the Texas A&M University Health Science Center and a S17 million
         West Campus Support Building,


October 12th, 2050 Mankind will cease to exist.




Godspeed




David Andrew Christenson
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Miramar Beach, Florida 32550
s04-71s-3086
davidandrewchristenson@gma      il.com
dchristenson6@ hotmail.com
            Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 36 of 64




V70B Texas A&M dedicates national Katrina Virus vaccine manufacturing facility.
http ://vo u!u. be/vAENY6XfF2w
Food for thought as you read this article: it sounds as if they are developing vaccines for everything. The
Katrina Virus is everything. The Katrina Virus has destroyed our immune systems. We have lost the
ability to breath. They use the term "pneumonia deaths" to cover up the true cause of death.


Cause of death: failure of the immune system          dueto its'destruction bythe Katrina Virus.

Texas A&M dedicates national pandemic influenza (Katrina Virus) vaccine manufacturing facility, on
track for 2016 start-up phase September 18,2074 by Holly Lambert
https://news,tam hsc.ed u/?post=texas-a m-ded icates-natio na l-pa ndem ic-inf luenza-vaccine-
m   an   ufactu rine-facilitv-on-track-fo r-2016-sta rt-u p-phase
Texas Governor Rick Perry, Texas A&M University System Chancellor John Sharp, Texas A&M Health
Science Center CEO Brett Giroir, M.D,, and officials from the U.S. Department of Health and Human
Services (HHS), State of Texas and biopharmaceutical company GSKtoday dedicated a national
pandemic influenza (Katrina Virus) vaccine manufacturing facility in Bryan, Texas, which when complete
will serve                          A&M Biocorridor - a rapidly evolving hub of economic
              as an anchor for the Texas
development and scientific discovery that is swiftly positioning Texas as the third coast in biotechnology.


When fully functional, the facility is expected to have the capacity to produce the bulk antigen needed
for up to 50 million adjuvanted pandemic influenza vaccine doses within four months of         a declared
influenza pandemic and availability of acceptable virus seeds.


Disease outbreaks, such as the H5N1 avian influenza, HLNl influenza pandemic of 2009, and more
recently the Ebola outbreak in West Africa, exposed the need for quick access to high-quality, life-saving
vaccines and therapeutics, and the importance of reliable, U.S.-based vaccine development and
manufacturing capabilities and expertise. After the President's Council of Advisors on Science and
Technology report on reengineering the influenza vaccine manufacturing enterprise and the U.S.
Department of Health & Human Services' medical countermeasures review, HHS' Biomedical Advanced
Research and Development Authority (BARDA) embarked on new approaches to bolster pandemic
influenza preparedness and biodefense.

With the Texas A&M CIADM's advancement of the Pandemic lnfluenza Vaccine Facility and the Viral-
based Vaccine Facility - along with the recent retrofit completion of the Texas A&M National Center for
Therapeutics Manufacturing, which offers flexible and adaptable biopharmaceutical development and
manufacturing capabilities - the center is on track to meet its mission of bolstering the nation's
preparedness and response to public health threats, whether in the form of a naturally occurring
emerging infectious diseases or a biological terrorist attack.
                         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 37 of 64
813012017 Gmail - This is one hell of a story. My brief to the Sth Circuit and two Notice(s) of Submission(s) to the Federal Court in New Orleans are attache..   .




             ,,"J   il- ! i;i ii                                     David Andrew Christenson <davidandrewchristenson@gmail.com>



  This is one hell of a story. My brief to the Sth Circuit and two Notice(s) of
  Submission(s) to the Federal Court in New Orleans are attached. "The Supreme
  Court Murdered Mankind" is also attached for reference. Look at the connection
  between Hurricane Katrina and Hurricane Harvey.
  David Andrew Christenson             <davidandrewchristenson@gmail.com>               Mon, Aug 28,2017 at 7:25 AM
  To: davidandrewchristenson@protonmail.com, americanjustice@protonmail.com, persimmonpublishing@protonmail.com,
  thereluctantpatriot@protonmail.com, federalcourts@protonmail.com, supremecourt@protonmail.com,
  supremecourt2@protonmail.com, Sthcourtno@protonmail.com, edlano@protonmail.com


     Take a minute and read this, it could possible open your eyes. Why is the Cajun Navy invited and allowed to help in
     Houston for Hurricane Harvey but they were turned away in New Orleans for Hurricane Katrina. I have Secret Grand Jury
     Testimony (now it is public record) that confirms what I am saying. Special Units of the US Military (which I was a part of)
     and Kenyon International Emergency Services (Google it) collected bodies and if they were contaminated they were
     burned and if not, they were turned over to the coroner. New Orleans is the Chemical Warfare Capital of the World.



     5 years after Katrina, storm's death toll remains a mystery Who died in Hurricane Katrina? Hundreds of names are still a
     mystery     and the death toll itself is subject of controversy LISE OLSEN, HOUSTON CHRONICLE Published 5:30 am,
               -
     Monday, August 30, 2010




    This is the first time in modern history that the US did not account for every American. lt is also the first time that the US
    did not want to account for every American.



    How could 50 plus cancers come out of a building? Why did those same 50 plus cancers not come out of New Orleans
    during Hurricane Katrina? Both had hardened CIA and DOD chemical warfare facilities and labs? Here is a perfect
    example of how corrupt our government is. They use the term "'14 categories" instead of saying 50 plus cancers.



    Page 1 of 2111091201207:07 AM

    US adds cancer to list of illnesses linked to 9111 terror attacks

    By NBC News and wire services

    September 11, 2012, 6:02 am NBCNews.com

    Updated at 5:15 p.m. ET: The federal government on Monday added 14 categories of cancer to the list of illnesses linked
    to the 9/11 terror attacks, which brings added coverage to rescue workers and people living near ground zero on Sept. 11,
    200'1. The National lnstitute for Occupational Safety and Health approved the additions to the list of illnesses covered in
    the James Zadroga 9i1 1 Health and Compensation Act, which were proposed in June. The updated regulations take
    effect 30 days after the ruling is published in the Federal Register.



    The US Government directed the national media to cover the Super Dome and the Convention Center so that they cor-rld
    clean up the dead contaminated bodies. The Convention Center sits on the Mississippi River. All people had to do was
    walk behind the building. The Super Dome is eight blocks away. Google Earih shows how close all New Orleans is to the
    River and the Lake.



https://mail.google.com/mail/u/0/?ui=2&ik=7d943782f9&jsver=PX1Y7GgZjW4.en.&view=pt&msg=15e28cd5d6tr116fB&search=serrt&siml=15e28cd5d6..                      1t4
                                    Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 38 of 64
8/3012017 Gmail - This is one hell of a story, My brief to the Sth Circuit and two Notice(s) of Submission(s) to the Federal Court in New Orleans are aitache.                                      ..

     Hurricane Katrina Facts: Chemical Warfare Contaminates (The Katrina Virus) escaped, due to negligence, into the
     environment and the US Military murdered Americans in violation of the US Constitution and Posse Act. The Federal
     Government had to wait five days to commence the rescue so the Katrina Virus could dissipate. President George W.
     Bush did not land Air Force One because he did not want to get infected. I flew support missions for Air Force One, the
     President, White House and the Secret Service so I know what I am talking about. Bush iold the world it was for security
     purposes and that was a lie. Belle Chase Naval Air Stations was fully operational and secure. I know because the Air
     Force First Special Operations Wing was there wiih friends of mine from the Air Force Academy.



     I called it the Redneck Navy but today it is called the Cajun Navy. All people had to do was walk to the Mississippi River
     or Lake Pontchartrain and they would be rescued, The Cajuns would arrive with beer and food. To them it is an adventure
     and adventures are to be fun,



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     Supreme Court Writ 14-10077 Supplemental Wrlt filed September 2nd,2015 titled "The Redneck Navy" Extraordinary
     Writ with Writ of Prohibition and Writ of Mandamus Writ Filed May 22nd,2015

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     Harvey: 'Cajun Navy' heads to Texas to aid rescues

     Greg Toppo, USATODAY Published 10:52 p.m. ET Aug. 27, 2017 | Updated 5:29 a.m. ET Aug. 28, 2017



    An informal network of good Samaritans with small watercraft is once again mobilizing                                                                          this time in the wake of
    unprecedented flooding in Houston.                                                                                                                         -
    Formed 12 years ago after Hurricane Katrina devastated New Orleans, the so-called Cajun Navy, which has saved
    thousands of stranded people, by some estimates, is already helping rescue stranded Texans, one member said Sunday.

    "There's no telling how many are already over there," said 39-year-old Joey Hains of Lafayette, La. "Basically everybody
    that's wanting to go help out" is going or has already arrived, he said.



                                                                                                                 14-10077

                                                                                                        September 2nd,2o15

                                                                                                        Supplemental Fifteen

                                                                                                          The Redneck Navy

                                                                   Extraordinary Writ with Writ of Prohibition and Writ of Mandamus

                                                                                                        Filed May 22nd,2015



    Iwill swear under oath that I knew nothing about the article, the book or the movie until today, September 2"d, 2015.
    Please reference August 22nd,2015 Writ 14-10077 SupplementalTenth The Perfect Military Weapon ls A Suicide
    Weapon (Katrina Virus) second paragraph last three lines which were written by me:



    "l say this with love and affection: "Every Redneck in South Louisiana has a boat." New Orleans is on a huge river with a
    huge lake on the north side. The Redneck Navy could have rescued everyone if asked or allowed."


https:/lmail.google.com/mail/u/0/?ui=2&ik=7d943782f9&jsver=PX1Y7GgZjW4..n.6u1sw=pt&mss=15e28cd5dGb116fB&search=sent&siml=1 5e28cd5d6..                                                        .   2t4
                                         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 39 of 64
 813012017 Gnrail - This is one hell of a story. My brief to the Sth Circuit anci lwo Notice(s) of Submission(s) to the Federal Court in New Orleans are attache...

      How many people really died in New Orleans during the Hurricane Katrina time frame? The public number is roughly
      1800. Of those 1800 many of the bodies are unaccounted for. New Orleans is below sea level and bodies would flow
      into and not out of. Read Supplemental Tenth.



         real questions are h
     Virus and how manv were murdered bv the US Militarv?

      Greatest story never told: Acadiana boaters braved danger, arrest to rescue New Orleans-area residents trapped by
      Hurricane Katrina floods

     Rescuers from Acadiana braved danger, arrest to rescue N.O.-area residents trapped by Hurricane Katrina floods

     BILLY GUNN I i;rir:rrir(i                                            Sept. 02, 2015

     i 1 1.i.1.;;   ii y,'r11,,;" ii i i: i t.)iir,:.irlei

     Many more people would have died in the flood waters of Hurricane Katrina in 2005 if not for hundreds of south Louisiana
     folks who met at Acadiana Mall in Lafayette and then hauled their boats to New Orleans, where thev disreqarded
     authorities' orders to go back home because it was tao danaerous.

     The story of the citizen rescue, which unfolded over days in a devastated New Orleans, is told in a new documentary,
     "The Cajun Navy," directed by Academy Award-winning filmmaker Allan Durand, who teamed with film students at the
     University of Louisiana at Lafayette for the project.

     Durand on Tuesday told a few hundred people at the LITE Center in Lafayette that the caravan of boats and boaters who
     dropped everything to head east on lnterstate 10 ended up rescuing more than 10,000 people.

     Durand was among the guests celebrated at an event commemorating the rescuers and others who helped in the effort.

     Tuesday's event previewed a few minutes of the documentary, and also unveiled a new book that includes the story of the
     citizen boat rescues, "The Terrible Storms of 2005: Hurricane Katrina and Hurricane Rita," published byAcadian House
     Publishing in Lafayette.

     Among the guests Tuesday were former Gov. Kathleen Blanco, retired Army Gen. Russel Honor6 and the organizer of
     The Cajun Navy, Doug Bienvenu.

     Katrina made landfall Aug. 29, 2005. Many tens of thousands of New Orleanians and some in neighboring St. Bernard
     Parish did not or could not leave. ln New Orleans. hundreds drowned after levees built aleng two canals connected
     to Lake Ponchartrain gave way and flooded much of the city. fThis iS CIOSe tO where the Katrina
     Vi      rus warehouses were.]
     Many who sought safety in their attics beat holes in the roofs and climbed out to escape the rising water. They needed
     help badly, and it was with these people in the crucial first days after the storm that the boaters from Cajunland made their
     mark.

     At the time. government officials didn't or couldn't deploy rescue boats, which threw much of the responsibility
     on the shoulders of citizen rescuers who rode house to house. according to the film. [Why?]
     Brian Smelker. of Lafavette, said the caravan was stopped bv officers with Louisiana Department of Wildlife and
     Fisheries. who told them it was too danqerous to nroceed. Authorities also told them "we don't need you."fAfe
     you kidding? They were going to rescue our fellow Americans.l
     Smelker said that as he was beino told to turn back. he could see people on roofs who needed help. All the while.
     the soundof gunshots could be heard. he said. "lt was pretty obvious it was a serious situation." Smelker said.
     [The US Military was firing the weapons to keep people away.]
     While many of the boaters turned around and headed back home, many did not.

     Told he woutd so to                               iail if he didn't return home. he said, "Welt. it won't be the first time." [The SUpfeme
     Clourt protects this terrorist behavior by law enforcement.]
https://mail.google.com/mail/u/0/?ui:2&ik=7d943782f9&jsver=PX1Y7GglW4.en.                   &view=pt&msg=15e28cd5d6b116f8&search=sent&siml= 15e28cd5d6... 3t4
                               Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 40 of 64
 813012017 Gmail - This is one hell of a story. My brief to the Sth Circuit and two Notice(s) of Submission(s) to the Federal Court in New Orleans are attache.

     Bienvenu and his girlfriend, Drue Leblanc, who rode alongside him in his airboat, ended up rescuing hundreds of people
     over three days.




     Sincerely filed,

      ln Proper Person and Pro Se,




     David Andrew Christenson

     Box 9063

     Miramar Beach, Fl. 32550

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                                                                                     CERTIFICATE OF SERVICE

                               I hereby certify that on Septembe r znd, 20151 filed the foregoing with the Clerk of Couft and

                                                      served the pleading on all counsel of record by e-mail including:

                                                                              Solicitor General Donald B. Verrilli Jr.

                                                               Counsel of Record United States Department of Justice

                                                                                  950 Pennsylvania Avenue, N.W.

                                                                                    Washington, DC 20530-0001

                                                                                             ,            , (202) 514-2217




                                                                                       David Andrew Christenson




      4 attachments
            Brief.docx
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      61    Gantrell 215 cv OM79 Notice of Submission Second.pdf
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          Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 41 of 64




Trump v. Twitter, lnc (1:21-cv-2244L) District Court, S.D. Florida Judge Robert Nichols Scola Jr.
Friend of Court Brief filed by David Andrew Christenson October 7th, 2021.


                                                Friend of Court Brief   !
Judge Scola,


Judges are censored.


You are censored.


Attachment 1: Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton
Hollander Case L:20-cv-02830-ELH Document 33 Filed 7Ll30l2O 50 pages. One pages one and two are
attached.

Attachment 2: Alters v. People's Republic of China (l:20-cv-21108) District Court, S.D. Florida Judge
Ursula Mancusi Ungaro Case 1:20-cv-21108-UU Document 49 Entered on FLSD Docket 061L6/2020 - L6
pages. Only pages one and two are attached.


Attachment 3: Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy
Kalman Altman




Miramar Beach, Florida 32550
504-715-3086
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              Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 42 of 64
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Atta C h m 8Tft',t-cv-02830-ElH
       Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton Hollander
       Movant David Andrew Christenson    -   United States Air Force Academy Class of 1982


                 Third Motion for Leave to file a Supplemental Friend of the Court Brief/Amicus Brief

                                                          And


                                                    Motion to Docket


                                                       CenrcrthiP

       Judqe Hollander vou are censored. The Executive Branch censors a Federal Judge. Court Listener is a
       501(cX3) non-profit that is controlled by the Department of Justice. Attachment 1 is the Court Listener
       Docket from this morning: November 19th, 2020 at 8:L0 AM EST. Constitutionally the Court Listener
       docket should be a duplicate of your official court docket that ca n be found on Pacer, Attachment 2 is
       the Pacer docket from this morning: Nrvember 19th, 2O2O at 8:14 AM EST. The Court Listener docket has
       been censored and does not duplicate your docket, TH-EY CENSORED YOU.
   .
       The Court Listener docket was last updated November 19th, 2O2O at 6:08 AM EST. lt shows the date of
       .the last known filing to be November 18th, 2020, The last docket entry shown is #26 on November 10th,
       2020. Docket #27 and #28 are not shown.


       My first Motion was docket #L8 on November 4th,2O2O. The narrative for that entry was just the word:
   *   "Memorondum".The docket entry was corrected by Court Listener with todayls update.

       Court Listener has a huge following because you can access court documents for free and receive alerts.

       Attachment 3: CDC FluView Report Week 45, ending November 7th,2020

       Attachment 4: Pneumonia, lnfluenza and COV|Dlg Mortality Surveillance from the National Center for
       Heatth Statistics Mortality Surveillance System Data through week ending November 7th, 2020 as of
       November 12th,2O2O



       ATTACHMENT 5: KILL ME NOW                                                  - THE
        PANDEMIC HAS WON AN EMMY.
       GOVERNOR CUOMO IS BEING GIVEN AN
       EMMY FOR TURNING THE PANDEMIC INTO
       A REALITY TV SHOW.
              Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 43 of 64
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       Box 9063
       Miramar Beach, Florida 32550
       504-715-3086
       dFvida nd rewchriste nso n @Bma    i   l.   com;
       dch risten so n6@ hgtm   ai   l.




                                                                      OF SERVICE
             I hereby certify   that on                                       foregoing with the Clerk of Court and
                        served                                                  Einail and first-class mail.


                                                          David Andrew Christenson
           Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 44 of 64
   Casq L:?O-cv-2LL08-UU Document 49 Entered on FLSD Docket OO|LO|Z)ZO Page 1 of 16
Attach ment 2
                                                                                                    .FILED
    Alters v. Peoples Republic of China (t:20-cv-21108) District Court, S.D. Florida Judge          ungar0
    Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128
    Movant David Andrew Christenson                                                                      JUN I 6     2020

    June 1.3th,2020                                                                                       ANGELA E. NOBLE
                                                                                                         CLERK U.S. DIST. CT.
                                                                                                         S. D. OF FLA.. MIAMI

    Twenty-First Amicus    -   lf I was wrong why would the Department of Justice go to such drastic lengths to
                                                      CENSOR me?


    The Plaintiffs should be suing the United States. Very simple depositions from the Director of the ClA,
    Secretary of Defense, Director of the NIH and Director of the CDC would verify that I am correct.
    Remember that 60 plus cancers (14 categories) came out of the World Trade Centers on 911 which is
    confirmed by the Federal Registry, (see attached article)

    The Complaint is frivolous and without merit if the United States is not added. The Complaint is
    unwinnable and a waste of the Court's time and resources.

    Compare the Court Listener docket (attached)from Friday June 12'h 2020 at 5:05 PM EST to the official
    court docket (attached). Court Listener intentionally omitted/CENSORED docket items 4, 6, 8, 9, t0,11,
    1.2and 13. Somebody had to manually do the censoring. There are no docket entries or narratives, Court
    Listener monitors thousands of cases and the transfer of data (copying of data) is automatic,


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    Free Law Project is a Colifornia non-profit public benefit corporotion ond a federolly-recognized 501(c)(3)
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    primary legal moterials on the lnternet for educotional, charitable, and scientific purposes to the benefit
    of the generol public ond the public interest;
    To develop, implement, ond provide public occess to technologies usefulfor legol reseorch;
    To create on open ecosystem   for legol reseorch ond materials;
    To support ocademic reseorch on reloted technologies, corporo, and legal systems; and
    To carry on other charitoble dctivities associdted with these purposes, including, but not limited to,
    publications, meetings, conferences, troinings, educotionol seminars, and the issuance of gronts ond
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    ln 2073, Free Law Project joined the Free Access to Low MovemenL


                                              Filed in the following cases:
            Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 45 of 64
-   Case L:20-cv-2L108:UU Document 49 Entered on FLSD Docket 0611612020 Page 2 of 16
Attach ment 2
        1.   United States v. Boucher (1:18-cr-00004) District Court, W,D. Kentucky Judge Marianne O.
             Battani Federal Court - 231 W. Lafayette Blvd., Room 252 - Detroit, M148226
        2.   United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
             Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001
        3.   United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
             Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001
        4.   Greco v. Peoples Republic of China (5:20-cv-02235) District Court, E.D. Pennsylvania Judge Anita
             Blumstein Brody Federal Court - 601 Market Street - Philadelphia, PA 19105
        5.   Patella v, Peoples Republic of China (1:20-cv-00433-TDS-JEP) District Court, M.D. North Carolina
             Judge Thomas D. Schroeder FederalCourt - 251 N. Main Street - Winston-Salem, NC        2lL0L
        6.   Benitez-White v. Peoples Republic of China (4:20-cv-01.562) District Court, S.D. Texas Judge
             Ewing Werlein Jr. Federal Court - 515 Rusk Street - Houston, TX77002
        7.   State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-RHW) District Court, S.D.
             MississippiJudge Louis Guirola Jr, Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
             39501
        8.  Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457-TAD-KLH) District Court,
            W.D. Louisiana Judge Terry Alvin Doughty Federal Court - 20l Jackson Street - Suite 215 -
            Monroe, Louisiana 7 t2O1-
        9. Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E,D. Louisiana Hon N. V.
            Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70130
        10. State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E,D. Missouri Judge
            Stephen Limbaugh - Federal Court - 555 lndependence Street - Cape Girardeau, MO 63703
        11, Alters v, Peoples Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula
            Ungaro Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128
        12. Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada Judge
            James C. Mahan - Federal Court - 333 S. Las Vegas Blvd - Las Vegas, NV 89101
        13, BuzzPhotov.PeoplesRepublicofChina(3:20-cv-00656)DistrictCourt,N.D.TexasJudgeEd
            Kinkeade Federal Court - 1100 Commerce St. - Room 1625 - Dallas, fexas75242
        14. Cardiff Prestige Property, lnc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.
            California Judge David O. Carter - Federal Court - 411 West Fourth St. - Courtroom 9D - Santa
             Ana, CA,927Ot
        15. Bourque   CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D.
            California Judge R. Gary Klausner - Federal Court - 255 East Temple Street - Los Angeles, CA
            90012
        16. Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K.
            Altman Federal Court - 299 East Broward Blvd. - Fort Lauderdale, Fl. 33301
        17. Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
            B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19106
        L8. United States v. Flynn (7:77-cr-OO232) District Court, District of Columbia Judge john Gleeson
            Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 10022
        19. United States v, Flynn (1:17-cr-00232) District Court, District of Columbia Attorney Beth
            Wilkinson - 2OO7 M Street N.W. - 10th Floor - Washington, D.C. 20036
        20, United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John
             Trenga FederalCourt - 40l Courthouse Square - Alexandria,     VA223t4
            Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 46 of 64

Attach ment 3
                                                                          Florida Judge Roy K' Altman
   Aharon v, Chinese Communist Party (9:20-cv-80604) District Court, S'D,
   FederalCourt - 299 East Broward Blvd. - Fort Lauderdale, Fl' 33301
   Movant David Andrew Christenson
   June 13th, 2020


    Twenty-First Anricus   -   If I was wrong why would the Department of Jusiice go to such drastic lengths to
                                                     CENS0R me?


                                                                                               of the ClA,
   The plaintiffs should be suing the United States, Very simple depositions from the Director
   Secretary of Defense, Director of the NIH and Director of the CDC would verify that I am correct'
                                                                                          on 911 which is
   Remember that 60 plus cancers (14 categories) came out of the World Trade Centers
   confirmed by the Federal Registry. (see attached article)

    The Complaint is frivolous and    without merit if the United States is not added. The Conrplaint   is

    unwinnable and a waste of the Court's time and resources'

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    Listener monitors thousands of cases and the transfer of data (copying of data) is automatic'



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     pubtic charity whose specific purposes ore primarily: To provide t'ree, public, ond
                                                                                                      access
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     primary legal materials on the tnternet for educational, choritabte, and scientilic
    of the generol public and the public interest;
    To develop, implentent, and provide public access to technologies useful for legal
                                                                                           research;
     Ta create on open ecosystem for tegat teseorch    and materiols;
                                                                                              and
     To support academic research on related technologiest corpora, and legal systems;
     Ta carry on other charitable activities associated with these purposes, including,
                                                                                          but not limited to,
     publiCations, meetings, conferences,   troinings, educotional seminQrs, ond the issuance af gronts and
                                                                                  organizations exclusively for
      other financial support to educationol institutions, foundations, and other
      educationol, charitable, ond scientific purposes as allowed by  law'
     ln 2013, Free Low Proiect ioined the Free Access to Low Movement'

                                               Filed in the following cases:
             Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 47 of 64

Attach ment 3
     1.      United States v, Boucher (1:L3-cr-00004) District Court, W.D. Kentucky Judge Marianne O.
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             Battani Federal Court' 231 W. Lafayette Blvd,, Room 252 Detroit, Ml 48226
     Z.      United States v. Flynn (t:L7-cr-00232) District Court, District of Colurttbia Judge E. Sullivan
             Federal Court - 333 Constitution Ave. N'W. - Washington D.C. 20001
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     6.      Benitez-White v, Peoples Republic of China (4:20-cv-01562) District Court, S'D. Texas Judge
             Ewing Werlein Jr. Federal Court - 5L5 Rusk Street - Houston, TxTT1OZ
     7   ,   State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-Rl1W) District Court, S.D'
             Mississippi Judge Louis Guirola Jr. Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
             39501
     8.      Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-O0457-TAD-KLH) District Court,
             W.D. Louisiana judge Terry Alvin Doughty Federal Court - 20l iackson Street - Suite 2L5 -
           Monroe, Louisia na 7 1201-
     g.    Eclwards v. peoples Republic of China (2:20-cv-01393i District Court, E.D. Louisiana Hon N. V.
           Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70L30
                                                                                                          judge
     1O. State of Missouri v. Peoples Republic of China (L:20-cv-00099) District Court, E.D. Missouri
           Stephen Lirnbaugh - FederalCourt - 555 lndependence Street - Cape Girardeau, MO 63703
     j.l-. Alters v. Peoples Republic of China (1:20-cv-21.108) District Court, S,D, Florida Judge Ursula
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     15. Bourque       CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C'D'
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             California Judge R, Gary Klausner - Federal Court - 255 East Temple Street Los Angeles, CA
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         16. Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K'
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         j-7. Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
              B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19L06
         1g. United States v. Flynn (1-:L7-cr-00232) District Court, District of Columbia Judge John Gleeson
              Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 1-0022
         j.9. United States v, Flynn (L:17-cr-00232) District Court, District of Columbia Attorney Beth
             Wilkinsorr - 2001 M Street N.W. - 10th Floor - Washington, D'C' 20036
         20. United States v. Manning (1,:19-dm-00012) District Court, E'D' Virginia Judge Anthony
                                                                                                   John

             Trenga Federal court - 401 Courthouse square - Alexandria, vA'22314
                       Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 48 of 64

Attachment                            3
             2   j.. United States v. Snowden (1:19-cv-01197) District Court, [.0. Virginia Judge Liam O'6rady
                 FederalCourt - 401Courthouse Square - Alexandria, VA2231'4
             22. United States v. Snowden {1:13-cr'265)) District Court, E,D. Virginia Senior Judge Claude M.
                 Hilton Federal court - 401 courthouse square - Alexandria, v A2231'4
             23. United States v. Winner (1:17-cr-00034) District Court,          S.D. Georgia Judge James Randal Hall

                 Federal Court - 600 James Brown Blvd. - Augusta, GA 30901"
             24, United States v. Assange (L;18-cr-0011l") District Court, E.D. Virginia Senior Judge Claude M.
                 Hilton FederalCourt - 401" Courthouse Square - Alexandt'ia, VA223L4
             25. tn re: Michael Flynn (20-5143) Court of Appeals for the D.C. Circuit Clerk Mark Langer U' S'
                 Appeals court D.c. - 333 Constitution Ave. N,w, - washington D.c. 20001
             26. ln re: Reality Winner l11-1-tlgzl Court of Appeals for the 11tr' Circuit Clerk David Smith Appeals
                 Court 11th Circuit - 56 Forsyth St,, N'W' - Atlanta, Georgia 30303
             27. Center for Democracy & Technology v. Trump (1:20-cv-01456) District Court, District of
                 Columbia Judge Trevor Neil McFadden - Federal Court - 333 Constitution Ave. N.W. -
                 Washington D.C.20001
             28. McCarthy v. Pelosi (L:20-cv-0L395-RC) District Court, District of Columbia Judge Rudolph
                 Contreras - Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001


     Godspeed
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   , :a'-... -,,
      David Andrew Christenson
      Box 9063
      Miramar Beach, Florida 32550
      504-715-3086
      davidandrewchristenson@gma                    il.com;
      dchristenson6@ hotmail.com;

                                                              CERTIFTCATE OF SERVICE


                           I hereby certify   that on                          foregoing with the Clerk of Court and
                                  served the                                              and first-class mail.



                                                              David Andrew Christenson
                               Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 49 of 64
u1312A20                                                     A,HARON v. CHINESE COMMUNIST PARTY. 9;20-cv-80604                    -   Courtlistener.com


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  Laet Updated: June 12, 2040, 5106 p.m. EDT

  Assigned To: Roy Kalman Altman (/person/8660/roy-kalman,altmani)

  Referred To: Davo L6e Brannon (lperson/9169/davs-16€"brannon/)

  Date Filed: April 7, 2020

  Dats of Last Known Filing: June 9. 2020

  Cause: 28:1332 Diverslty (/?type=r&causo='28:1332              Diversity")

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                        Date   Filed                                     Descrlption
                        Apr B,  2020                                     COMPLAINT againsi All Defendants. Filing fees $ 400.00 rec€ipl number AFLSDC'1 2712730, filed by
                                                                         ROSANNA CARUSO, MORIAH AHARON, DAMON J DETE$O, JORDAN G KUPPINGER'
                                                                         CHRTSTOPHER PAYTON. (Attachments: # 1 Civll Cov6r Sh6et CIVIL COVER SHEET, # 2 Summon(s)
                                                                         Summons Repub of China, # 3 Summon(s) Summons Chlnoso Comm PsrtyxMoor€, Malthsw) (Entered
                                                                         04t08t2020)

                                                                         Main   Doc                    Complaint
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                                                                         v-chinese-communist-
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                        Apr 8, 2020                                      Clerk's Notice of Judge Assignment and 0ptional Coflsent

               2        fur 8,2020                                       Clerks Notico ofJudge Assignment to Judgo Roy K. Altman and Magistrate Judge DaVe Lee Brannon.
                                                                         Pursuant to 2S USC 636(c), the partles ure hereby notified that the U.S. Magi6trato Judge Dave Lee
                                                                         Brannon is available to hancile any or all proceedings in this case. ll agr66d, parties should complete and

https:1/mlw.cou rtlistener.com/docket/1 705             1   91 Blaha   ron-v-chinese-commu nist-party/                                                                                  1/2
                        Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 50 of 64
6/13/2020                                          AHARON v. CHINESE COMMUNIST P,ARTY 9.20"cv-80604 * CouriListener.cont
                                                            flle the Consent form found on our wobsitc. lt is not nccessary to file a documont indicating lack of
Attach ment 3                                               consont. Pro ss (NON-PRISONER) litigants rnay receive Noticos of Eloctronic Filittgs (NEFS) via email
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                                                            Main Doc                         Clerk's Notice of Judge Assigntnont

        3         Apr 8, 2020                               Summons lssuod as to CHINESE COMMUNIST PARTY pEOPLE'S REPUBLIC OF CHINA. (Attachrnents:
                                                            # 1 Summon(s))(ail) (Enlered: 04/0812020)

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                                                            Att   1                          Summon(s)

                    Msy 19, 2020                            0rrter Striking

                    May 22,2020                             0rder Striking

       14           Jun12,2020                               Main Doc                        - Order (PAPERLESS or pdf attached)

  Newsletter

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Attachment                                  3      U.S. District Court
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                                     Southern District of Florida (West Palm Beach)
                                    CIVIL DOCKET FOR CASE #: 9:20-cv-80604-RKA

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   81'.\B(':\ex,s and tire services
   Septemher I 1.101!,6:01 atil                                                                                     NBflNcws.com




  Updated at 5:15 p.m. ET: The fbderal government on Monday added l4 categorics of cancer to the list of illnesses
  linked to the 9/l I terror attacks. rvhich brings added coverage to rescue workers and people living near ground
  zero on Sept. I 1.2001.

  The National Institute tbr Occupational Safety and Health approved the additions to the list ol'illnesses covered in
  the James Zadroga 9lll tlealth and Cornpensation Act" which were proposed in.lune.'l'he upclated regulations
  take effbct 30 days after the ruling is published in the Federal Register,

  Sce more on this story on NllCNewYork.com

  l'he decision "marks an important step in the effort to provide needed treatment and care to 9/l I responders and
  survivors." said Dr. John Ilorvard. adrninistrator of the World'li'ade C-'enter Health Program established by thc
  Zadroga law.

  The Zadroga Act      narned after NYPD Detective Janres 7,adraga. who died at age 34 after working at ground
  zero *.                -
          was signed into law nearly two yoars ago. Despite thc hundreds of sick re sponders. the act did not cover
  cancer because of a supposed lack of scientific eviderrce linking cancer to ground zero toxins.

  "We are gettillg sick in record numbers," said Ray Pfeiffer. a first responder who was diagnosed three years ago
  with kidney cancer. t'le said it has been a struggle to pay for expensivc medications not fully covered by his
   insurance.

   "lt's f'antastic news." he said of the expanded list of covered illnesses.

  About 400 residents and rescue workers have died from cancer since 9/l l. according to the New York Post.

   With cancer included in the program morc victims are likely to seek compensation" which could cause individual
   awards to be reduced as officials divide up the $2.77 billion fund.


   "'lheyore going to add cancers. but are they going to add more money to the fund?" Thomas "T.J." Cilmartin" who
   suflbrs from lung disease and sleep apnea. said to the Post. "lt's crazy. Every time. we gona fight. It's two years
   sittuu ()trutttu signutl tlrut trill, urxl rrubtrd;r "o gut lO vurttu"'

   "We fought long and hard to make sure tliat our 9/l I heroes sufl'ering           tiott   cancers obtained fiom their work at
   ground zcro get the help they deserve." U.S. Senators Kirsten Gillibrand and Charles E. Schurner. both of New
   York. said in a statement. "Today's annouucement is a huge step forward that will providc.iustice and support to str
   many who are now suffering from cancer and other illnesses, We will press on - with advocates, the community.
   and our pa(ners in government - to ensure that all those who suff?rred harm from 9/l I and its afterrnath get the
   access to the program they so desperately need."



                                                        Last week. the Nerv York Cit1, [rire Dcpartrnetrt adclecl nitre tlan:es tit
                                                        the 55 alrcacli,'elcheclon a rvallltttttoting mcnlbers who have died ol
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Att                       e
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                                                                                ft Sorne estimates    put the overall death toll from 9/l l-related illness at
                                                                                     ,rror* than 1,000. according to Reuters. At least 20"000 ground zero
                                                                                     workers are being tteated across the country and 40.000 are boing
                                                                                     monitored by the World'lrade Center Ilcalth Program. Reuters
                                                                                     reported.

                                                                                     'l"uesday marks the I              lth anniversary ol'the 9/l I terror attacks.

                                                                                     Last thll. the September I I Memorial at ground zero frrrally opened in
                                                                                     the footprints of the original towers. Since then. more than 4 rnillion
                                                                                     people have visited.
                              r.3
                                                                                     l.'inancial. security and design setbacks liave de layed tlre redevelopment
     I amilt' photo lia ill' Dai{r',\errr' rlP lti le h lhis
   undoled-filc phokr. $etr i'ort f i6' ltttlice Del. Jttmes                         of the World Tlade Center in the past decade' A recent project audit
      7-utlrog,:l leJi, holds his datghter T'"vlerann. l'ift1'                       indicates that overall site redevelopment c<lsts have grown to nearly $ I 5
   concers \till hc added n the htdroga .4c!. rt'ijci tlrt't
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    nanetl a-fter the detediw--vho clied oJ'resPirakn'.r:
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                                                                                     One World Trade Center is ncaring completion and is expected to open
  in 2014.

 NIlCNervYork.com's Brynn (iingras and Rettters contributcclto this rsport.

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                                                                          – CourtListener.com



   . (4:21-cv-01774)
   District Court, S.D. Texas
      Search this Docket (/?type=r&q=docket_id%3A59953190)             Tags           Get Alerts (/alert/docket/toggle/)

      View on PACER (https://ecf.txsd.uscourts.gov/cgi-bin/DktRpt.pl?1830373)

   Last Updated: Oct. 7, 2021, 5:09 a.m. CDT

   Assigned To: Lynn Nettleton Hughes (/person/1550/lynn-nettleton-hughes/)

   Date Filed: June 1, 2021

   Date Terminated: June 12, 2021

   Date of Last Known Filing: Oct. 6, 2021

   Cause: 28:1442 Notice of Removal (/?type=r&cause="28:1442 Notice of Removal")

   Nature of Suit: 790 Labor: Other (/?type=r&nature_of_suit="790 Labor: Other")

   Jury Demand: None (/?type=r&q=juryDemand:"None")

   Jurisdiction Type: Federal Question

      Docket Entries (/docket/59953190//)         Parties and Attorneys (/docket/59953190/parties//)


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                   Date Filed                               Description
          1        Jun 1, 2021                              NOTICE OF REMOVAL from 457th Judicial District Court of Montgomery County, Texas, case number 21-
                                                            06-07552 (Filing fee $ 402 receipt number 0541-26523839) filed by Houston Methodist Hospital, Houston
                                                            Methodist The Woodlands Hospital. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Patton,
                                                            Daniel) (Entered: 06/01/2021)

                                                            Main Doc                      Notice of Removal
                                                            (/docket/59953190/1//)

                                                            Att 1                         Exhibit
                                                            (/docket/59953190/1/1//)

                                                            Att 2                         Exhibit
                                                            (/docket/59953190/1/2//)

                                                            Att 3                         Exhibit
                                                            (/docket/59953190/1/3//)

                                                            Att 4                         Exhibit
                                                            (/docket/59953190/1/4//)

          2        Jun 3, 2021                              NOTICE in a Removed or Transferred Case (Signed by Judge Lynn N Hughes) Parties notified.
                                                            (ClaudiaGutierrezadi, 4) (Entered: 06/03/2021)

                                                            Main Doc

          3        Jun 3, 2021                              Order: Initial Conference set for 7/1/2021 at 03:00 PM in Room 11122 before Judge Lynn N Hughes.
                                                            (Signed by Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered: 06/03/2021)

                                                            Main Doc                      Order Setting Conference

          4        Jun 3, 2021                              Order: Hearing set for 6/4/2021 at 10:30 AM at Courtroom 11C before Judge Lynn N Hughes. (Signed by
                                                            Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered: 06/03/2021)

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                       1/5
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                                                                      – CourtListener.com
                                                    Main Doc                    Order Setting Hearing

        5          Jun 3, 2021                      Order Resetting Hearing. Hearing reset for 6/4/2021 at 02:00 PM at Courtroom 11C before Judge Lynn N
                                                    Hughes. (Signed by Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered: 06/03/2021)

                                                    Main Doc                    Order Resetting Hearing

        6          Jun 4, 2021                      Opposed MOTION for Temporary Restraining Order by all plaintiffs, filed. Motion Docket Date 6/25/2021.
                                                    (Attachments: # 1 Exhibit Methodist Experimental Vaccine Policy, # 2 Exhibit 21USC360bbb, # 3 Exhibit
                                                    CDC 10/30/20 Outline, # 4 Exhibit Letter from Dr. Boom, # 5 Exhibit $1,000 Bonus Email)(Woodfill, Jared)
                                                    Text modified on 6/11/2021 (ghassan, 4). (Entered: 06/04/2021)

                                                    Main Doc                    Temporary Restraining Order
                                                    (/docket/59953190/6//)

                                                    Att 1                       Exhibit Methodist Experimental Vaccine Policy
                                                    (/docket/59953190/6/1//)

                                                    Att 2                       Exhibit 21USC360bbb
                                                    (/docket/59953190/6/2//)

                                                    Att 3                       Exhibit CDC 10/30/20 Outline
                                                    (/docket/59953190/6/3//)

                                                    Att 4                       Exhibit Letter from Dr. Boom
                                                    (/docket/59953190/6/4//)

                                                    Att 5                       Exhibit $1,000 Bonus Email
                                                    (/docket/59953190/6/5//)

        7          Jun 4, 2021                      Amended MOTION for Temporary Restraining Order by all plaintiffs, filed. Motion Docket Date 6/25/2021.
                                                    (Attachments: # 1 Exhibit Methodist Experimental Vaccine Policy, # 2 Exhibit 21USC360bbb, # 3 Exhibit
                                                    CDC 10/30/20 Outline, # 4 Exhibit Letter from Dr. Boom, # 5 Exhibit $1,000 Bonus Email)(Woodfill, Jared)
                                                    Text modified on 6/11/2021 (ghassan, 4). (Entered: 06/04/2021)

                                                    Main Doc                    Temporary Restraining Order
                                                    (/docket/59953190/7//)

                                                    Att 1                       Exhibit Methodist Experimental Vaccine Policy

                                                    Att 2                       Exhibit 21USC360bbb

                                                    Att 3                       Exhibit CDC 10/30/20 Outline

                                                    Att 4                       Exhibit Letter from Dr. Boom

                                                    Att 5                       Exhibit $1,000 Bonus Email
                                                    (/docket/59953190/7/5//)

        8          Jun 4, 2021                      Minute Entry for HEARING held before Judge Lynn N Hughes on 6/4/2021. Order to be entered.
                                                    Appearances: Jared Woodfill, Daniel Patton, Michael Twomey, Andrew Barber, Brooke Jones. (Court
                                                    Reporter: F. Warner) (ghassan, 4) (Entered: 06/04/2021)

                                                    Main Doc                    Miscellaneous Hearing
                                                    (/docket/59953190/8//)

        9          Jun 4, 2021                      ORDER to Move. By 6/8/2021, Houston Methodist Hospital may move dispositively. By 6/10/2021, the
                                                    plaintiffs may respond. Hearing on the motion set for 6/11/2021 at 01:30 PM in Courtroom 11C before
                                                    Judge Lynn N Hughes. (Signed by Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered:
                                                    06/04/2021)

                                                    Main Doc                    Order
                                                    (/docket/59953190/9//)

       10          Jun 4, 2021                      ORDER Denying Temporary Restraint terminating 6, 7 . (Signed by Judge Lynn N Hughes) Parties
                                                    notified. (ghassan, 4) (Entered: 06/07/2021)

                                                    Main Doc                    Order
                                                    (/docket/59953190/10//)

       11          Jun 8, 2021                      MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by The Houston Methodist Hospital, filed.
                                                    Motion Docket Date 6/29/2021. (Patton, Daniel) (Entered: 06/08/2021)

                                                    Main Doc                    Dismiss for Failure to State a Claim
                                                    (/docket/59953190/11//)

       12          Jun 10, 2021                     AMENDED PETITION against All Defendants filed by all plaintiffs. (Attachments: # 1 Exhibit, # 2 Exhibit, #
                                                    3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Woodfill, Jared) Text modified on 6/11/2021 (ghassan, 4). (Entered:
                                                    06/10/2021)

                                                    Main Doc                    Amended Complaint/Counterclaim/Crossclaim etc.
                                                    (/docket/59953190/12//)

                                                    Att 1                       Exhibit

                                                    Att 2                       Exhibit

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                              2/5
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                                                     ., 4:21-cv-01774     10/08/21 Page 57 of 64
                                                                      – CourtListener.com

                                                    Att 3                         Exhibit

                                                    Att 4                         Exhibit

                                                    Att 5                         Exhibit
                                                    (/docket/59953190/12/5//)

       13          Jun 10, 2021                     Opposed RESPONSE in Opposition to 11 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM,
                                                    filed by all plaintiffs. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                                                    Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6)(Woodfill, Jared) Text modified on 6/11/2021
                                                    (ghassan, 4). (Entered: 06/10/2021)

                                                    Main Doc                      Response in Opposition to Motion
                                                    (/docket/59953190/13//)

                                                    Att 1                         Exhibit Exhibit 1

                                                    Att 2                         Exhibit Exhibit 2

                                                    Att 3                         Exhibit Exhibit 3
                                                    (/docket/59953190/13/3//)

                                                    Att 4                         Exhibit Exhibit 4
                                                    (/docket/59953190/13/4//)

                                                    Att 5                         Exhibit Exhibit 5

                                                    Att 6                         Exhibit Exhibit 6

       14          Jun 11, 2021                     AMENDED 11 MOTION( Motion Docket Date 7/2/2021.), MOTION TO DISMISS FOR FAILURE TO STATE
                                                    A CLAIM by The Houston Methodist Hospital, filed. (Patton, Daniel) (Entered: 06/11/2021)

                                                    Main Doc                      Dismiss for Failure to State a Claim AND
                                                    (/docket/59953190/14//)       Amended Motion

       15          Jun 11, 2021                     MOTION to Strike 13 Response in Opposition to Motion, by The Houston Methodist Hospital, filed. Motion
                                                    Docket Date 7/2/2021. (Attachments: # 1 Proposed Order)(Patton, Daniel) (Entered: 06/11/2021)

                                                    Main Doc                      Strike
                                                    (/docket/59953190/15//)

                                                    Att 1                         Proposed Order

       16          Jun 11, 2021                     SUPPLEMENT to Emergency Motion for Temporary Restraining Order by all plaintiffs, filed. (Attachments:
                                                    # 1 Exhibit, # 2 Exhibit)(Woodfill, Jared) Text modified on 6/11/2021 (ghassan, 4). (Entered: 06/11/2021)

                                                    Main Doc                      Supplement
                                                    (/docket/59953190/16//)

                                                    Att 1                         Exhibit
                                                    (/docket/59953190/16/1//)

                                                    Att 2                         Exhibit
                                                    (/docket/59953190/16/2//)

       17          Jun 11, 2021                     Minute Entry for proceedings held before Judge Lynn N Hughes. MOTION HEARING held on 6/11/2021.
                                                    Order to be entered. Appearances: Jared Ryker Woodfill, Daniel Patton, Michael Twomey, Andrew Barber,
                                                    Brooke Jones. (Court Reporter: Lanie Smith), filed.(bthomas, 4) (Entered: 06/12/2021)

                                                    Main Doc                      Motion Hearing
                                                    (/docket/59953190/17//)

       18          Jun 12, 2021                     ORDER ON DISMISSAL. (Signed by Judge Lynn N Hughes) Parties notified.(bthomas, 4) (Entered:
                                                    06/12/2021)

                                                    Main Doc                      Dismissal
                                                    (/docket/59953190/18//)

       19          Jun 12, 2021                     FINAL DISMISSAL. (Signed by Judge Lynn N Hughes) Parties notified.(bthomas, 4) (Entered: 06/12/2021)

                                                    Main Doc                      Judgment - Final
                                                    (/docket/59953190/19//)

       20          Jun 14, 2021                     AO 435 TRANSCRIPT REQUEST by Jared R. Woodfill for Transcript of Hearing on 6/4/21 before Judge
                                                    Hughes. Daily (24 hours) turnaround requested. Court Reporter/Transcriber: Fred Warner, filed. (Woodfill,
                                                    Jared) (Entered: 06/14/2021)

                                                    Main Doc                      AO435 Transcript Request

       21          Jun 14, 2021                     AO 435 TRANSCRIPT REQUEST by Jared R. Woodfill for Transcript of Hearing for proceedings on
                                                    6/11/21 before Judge Hughes. Daily (24 hours) turnaround requested. Court Reporter/Transcriber: Lanie
                                                    Smith, filed. (Woodfill, Jared) (Entered: 06/14/2021)

                                                    Main Doc                      AO435 Transcript Request

       22          Jun 14, 2021

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                   3/5
10/7/21, 9:31 AM          Case 3:21-cv-08378-JD Document     66 Filed
                                                     ., 4:21-cv-01774     10/08/21 Page 58 of 64
                                                                      – CourtListener.com
     NOTICE OF APPEAL to US Court of Appeals for the Fifth Circuit by Rose Aldaya, Sandra Altamirano,
     Judith Andriko, Alison Antu, Mary Apacway, Dajuana Armstrong, Amber Baker, Edna Barrera, Debra
     Baugh, Latricia Blank, Amanda Blanton, James Borje, Laura Bowden, Jennifer Bridges, John Brockus,
     Katherine Brol, Arlin Cameron, Pierre Charland, Brian Clegg, Celina Clvir, Sherry Colbert, Joann Crump
     Creamer, Zoretta Curry, Lorri Curto, Julie De Torre, Madeline Dib, Sierra Dockray, Stephanie Dunlap, Ana
     Escobar, Brenda Escobar, Teryn Essler, Monica Estrella, Brian Felgere, Rebekah Fontenot, Michelle
     Fuentes, Adriana Galvan, Darius Gardner, Ashton Hanley, Samantha Hanlon, Tara Hansen, Savannah
     Hanson, Stacy Hanzelka, Starla Haugenator, Ashley Heinrich, Santana Henderson-Jones, Paul Herin,
     Shauna Herin, Jade Hernandez, Luz Hernandez, Stephanie Hilton, Jeffrey Hinton, Sharon Hollier, Joseph
     Hoyt, Walter Infantes, Shaylonda Jackson, Dana Janoch, Jason Jimenez, Amber Kimich, Carmen LaTorre,
     Gilberto Lara, Priscilla Lara, John Lasseigne, Angela Lavespere, Tatyana Lazarenko, Ashley Leon, Brooke
     Lighthall, Tammy Linkenhoker, Alexis Lopez, Bennie Lopez, Brandy Mann, James McCann, II, Generia
     McGraw, Elsa Mejia, Rogelio Mendez, Kim Mikeska, Norma Miller, Yolunda Milton, Ahmed Montgomery,
     Robert Morin, Cherri Mosley, Bob Nevens, Linda Pickard, Sara Pika, Christina Pineros, McKenli Pinkney,
     Theresa Porche, Jonae Powell, Cynthia Puente, Averi Reed, Kimberly Rensi, Pamela Robins, Janet
     Robison, Saul Rodriguez, Timothy Rosilez, Betty Samuel, Giovanni Savans, Leevetgra Seals, Maria
     Serrano, Kara Sheperd, James Smiley, Nicole Smith, Freenea Stewart, Cynthia Strauss, Katherine
     Sweitzer, Karene Tanner, Maria Trevino, Terah Trevino, Charles Vargnese, Randi Vincent, Mathea Volesky,
     Hunter Ward, Jennifer Warren, Victoria Webb, Alexandra Williams, Mona Wilson, Karen Witt, Latasha
     Woods, Laurica Wooten, Katie Yarber, Oscar Zamudio, Ricardo Zelante (Filing fee $ 505, receipt number
     0541-26590478), filed.(Woodfill, Jared) (Entered: 06/14/2021)

     Main Doc                     Notice of Appeal
     (/docket/59953190/22//)

                   Jun 14, 2021                            Notice of Assignment of USCA No. 21-20311 re: 22 Notice of Appeal, filed.(jtabares, 1)

       23          Jun 15, 2021                            APPEAL TRANSCRIPT re Motion proceedings held on 6/11/2021 before Judge Lynn N Hughes. Court
                                                           Reporter/Transcriber Lanie Smith. Ordering Party: Plaintiff. This transcript relates to the following: 21
                                                           AO435 Transcript Request, 22 Notice of Appeal,,,,,,,,. Release of Transcript Restriction set for 9/13/2021.,
                                                           filed. (LanieSmith, ) (Entered: 06/15/2021)

                                                           Main Doc

       24          Jun 15, 2021                            Clerks Notice of Filing of an Appeal. The following Notice of Appeal and related motions are pending in the
                                                           District Court: 22 Notice of Appeal. Fee status: Paid. Reporter(s): F. Warner, filed. (Attachments: # 1 Notice
                                                           of Appeal) (JenniferLongoria, 1) (Entered: 06/15/2021)

                                                           Main Doc
                                                           (/docket/59953190/24//)

                                                           Att 1                         Notice of Appeal

                   Jun 15, 2021                            Appeal Review Notes re: 22 Notice of Appeal. Fee status: Paid. The appeal filing fee has been paid or an
                                                           ifp motion has been granted.Hearings were held in the case. DKT13 transcript order form(s) due within 14
                                                           days of the filing of the notice of appeal. One (1) transcript has been produced. Number of DKT-13 Forms
                                                           expected: 1, filed.(JenniferLongoria, 1)

       25          Jun 16, 2021                            Notice of Filing of Official Transcript as to 23 Transcript - Appeal,. Party notified, filed. (dhansen, 4)
                                                           (Entered: 06/16/2021)

                                                           Main Doc                      Notice of Filing of Official Transcript - (FORM,
                                                                                         noticing)

       26          Jun 24, 2021                            DKT13 TRANSCRIPT ORDER REQUEST by Plaintiffs-Appellants (Attorney Jill Schumacher). This is to
                                                           order a transcript of Hearing on 06/04/2021 before Judge Lynn N Hughes. Court Reporter/Transcriber:
                                                           Fred Warner. This order form relates to the following: 22 Notice of Appeal,,,,,,,, 8 Miscellaneous Hearing,
                                                           filed.(Schumacher, Jillian) (Entered: 06/24/2021)

                                                           Main Doc                      Appeal Transcript Request (DKT-13)
                                                           (/docket/59953190/26//)

       27          Jun 24, 2021                            DKT13 TRANSCRIPT ORDER REQUEST by Plaintiffs-Appellants (Attorney Jill Schumacher). This is to
                                                           order a transcript of Motion Hearing on 06/11/2021 before Judge Lynn N Hughes. Court
                                                           Reporter/Transcriber: Lanie Smith. This order form relates to the following: 17 Motion Hearing, 22 Notice of
                                                           Appeal,,,,,,,, 23 Transcript - Appeal,, filed.(Schumacher, Jillian) (Entered: 06/24/2021)

                                                           Main Doc                      Appeal Transcript Request (DKT-13)

       28          Jul 14, 2021                            USCA LETTER for the Fifth Circuit advising court reporter Lanie Smith the transcript must be filed with the
                                                           District Court Clerk within 30 days from the date the USCA received the purchase order (USCA No. 21-
                                                           20311), filed.(EdnitaPonce, 1) (Entered: 07/14/2021)

                                                           Main Doc                      USCA Letter to Court Reporter
                                                           (/docket/59953190/28//)

       29          Jul 14, 2021                            USCA LETTER for the Fifth Circuit advising court reporter Fred Warner the transcript must be filed with the
                                                           District Court Clerk within 30 days from the date the USCA received the purchase order (USCA No. 21-
                                                           20311), filed.(EdnitaPonce, 1) (Entered: 07/14/2021)

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                         4/5
10/7/21, 9:31 AM           Case 3:21-cv-08378-JD Document     66 Filed
                                                      ., 4:21-cv-01774     10/08/21 Page 59 of 64
                                                                       – CourtListener.com
                                                            Main Doc                    USCA Letter to Court Reporter

        30         Jul 14, 2021                             Amicus by David Andrew Christenson, filed. (gkelner, 4) (Entered: 07/22/2021)

                                                            Main Doc
                                                            (/docket/59953190/30//)

                   Jul 23, 2021                             Appeal Remark re: 22 Notice of Appeal. Pending the filing of appeal transcripts re 26 Hearing held 6/4/21;
                                                            [ 27] Motion Hearing 6/11/21, filed.(jtabares, 1)

        31         Jul 23, 2021                             Order to Strike. Because the case is closed, David Andrew Christenson's amicus brief 30 is struck. No
                                                            future amicus are to be filed in this case without this court's prior approval.(Signed by Judge Lynn N
                                                            Hughes) Parties notified.(gkelner, 4) (Entered: 07/23/2021)

                                                            Main Doc

        32         Aug 10, 2021                             USCA LETTER for the Fifth Circuit advising the transcript must be filed with the District Court Clerk within
                                                            30 days from the date the USCA received the purchase order. In this case, the 30-day discount period
                                                            expired on 8/25/2021. Therefore the court reporter must discount your invoice by 10%, filed.(jtabares, 1)
                                                            (Entered: 08/10/2021)

                                                            Main Doc                    USCA Letter to Court Reporter
                                                            (/docket/59953190/32//)

        33         Aug 16, 2021                             The Supreme Court is the Only Legitimate Entity in The World That Can Save Mankind by David Andrew
                                                            Christenson, filed.(jdav, 4) (Entered: 08/19/2021)

                                                            Main Doc                    Document
                                                            (/docket/59953190/33//)

                   Sep 3, 2021                              Appeal Review Notes re: 22 Notice of Appeal. Fee status: Paid. 45 day review - pending actual transcripts,
                                                            filed.(scastillo, 1)

                   Sep 3, 2021                              Appeal Review Notes

        36         Oct 1, 2021                              Main Doc                    Document
                                                            (/docket/59953190/36//)

        37         Oct 5, 2021                              Main Doc                    Document
                                                            (/docket/59953190/37//)

        38         Oct 5, 2021                              Main Doc                    Order
                                                            (/docket/59953190/38//)

                   Oct 6, 2021                              Electronic Record on Appeal Certified

                   Oct 6, 2021                              Transmittal of Appeal (FORM, noticing) - Civil

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https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                        5/5
             Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 60 of 64




Trump v. Twitter, lnc (1:21-cv-2244L) District Court, S.D. Florida Judge Robert Nichols Scola Jr.
Friend of Court Brief filed by David Andrew Christenson October 4th,2021


                                                              Friend of Court Brief 1


Judge Scola,


The attached pleadings were docketed byJudge Lynn Nettleton Hughes in Bridges v. Houston Methodist
Hospital (4:27-cv-OL774) District Court, S.D. Texas.


The case is closed and on appeal. I have said awful things about him, but he has not struck the pleadings.
He did file other pleadings and ordered them struck, but he did not remove them from the record.


Another odd point. I did not put the case number on the pleadings. One has a case number that was put
there by someone with the court and the other one does not have a case number.




David


Miramar Beach, Florida 32550
504-715-3085
d a v i d Alr d   rewc   h ri   stqn   s_o_n   @gtn qtlqqm.
dgh!'istensol6@hotm                                .
     Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 61 of 64
    Case 4:2L-cv-0L774 Document 33 Filed on 08ll1l2l in TXSD Page L of 2



                                          4:2lcvl77                4                                      ,.y;i::g
                                                                                                                     srates courts

     Reference Supreme court: 21A15 Justice Amy coney Barrett Emergency Application for Writ                     ;'F?ftflc|"'da-
                           lnjunction, Relief Requested by Friday, August L3,202L
                                       Amicus - 101 - August lzth, 202L                                      AUG     I6    ZgZt

                                                                                                      l\laffran Oohsner,
                                     THE MIRACIE. ANp tT rS SO STMPLE                                                    Clerk of Courr
                (l beg you to let me retire   -   I   cannot retire untilthe narrative is changed.)


                                                                                 ENTITY IN THE
                                    THAT CAN SAVE MANKIND.

            WHERE THE SUPREME COURT GOES, MANKIND GOES.

Change the narrative by ordering a response. This is about Mankind. (lt is not about me, and I do not
WANI it tO bC AbOUt ME. IT HAS TO BE ABOUT CHANGING THE NARRATIVE AND SAVING MANKIND.)


My prevailing without the Supreme Court will result in a violent revolution. My writings will be used
against the Supreme Court and that is not a good thing. (Pray that t do not die before the narrative is
changed.)


The Supreme Court is "legitimote," lf we are to bring about peaceable change then it must come from
the Supreme Court. This ls an opportunity to hlt the "reset" button.

I know we disagree, but I believe the Preamble is the Constitution and lWel'1, .-____, do solemnly
 swear (or offirm) that t willsupport and defend the bnstitution of the United States against oll enemies,
foreign ond domestic; that t'will beor true faith and alleglance to the same; that t take this ohligation
Ireely, wiihout ony mental reservation or purpose of evasion; and thot twlltwell and faithfully discharge
the duties of the office on which   lom oboutto enter.        So help me God,"


The agencies within the government are not only lying to the American people but to each other. The
White House was livid this week when they found out that on May 1't, 2021, the CDC stopped tracking
breakthrough infections forthose that had been vaccinated.

What will happen if the American people find out the vaccines do not work?

What happens if the Messengervaccines instruct the vaccinated immune systems to notfight the
COV|D19 Virus? There is empirical evidence that this is happening.


Americans will not have their immune systems because of Censorship.


    1.   Writ of Mandamus and Writ of Mandamus 14-1907 Supreme Court
    2.   Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton Hollander
    3.   Alters v. People's Republic of China (1:20-cv-21108) Dlstrict Court, S.D. Florida Judge Ursula
         Ma'ncusi Ungaro
     Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 62 of 64
    Case 4:2L-cv-O!774 Document 33 Filed on OBltGlz1, in TXSD Page 2 ot 2




    4.    Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D.
          New York Judge John George Koeltl
    5.    United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The
          United States of America - Court of Appeals No.: 21-L0371
    6.    Case No. 21-203L1" - lennifer Bridges; et al, Plaintiffs - Appellants - v. - The Houston Methodist
          Hospital, Defendants - Appellees
    7.    Bridges v. Houston Methodist Hospital (4:21-cv-07774) District Court, S.D. Texas Judge Lynn
          Nettleton Hughes
    8.    Neve v. Birkhead (1:21-cv-00308)District Court, M.D. North Carolina Judge Loretta Copeland
          Biggs
    9.  Legarreta v. Macias (2:21-cv-00179) District Court, D. New Mexico Judge Martha Alicia Vazquez
    10. Klaassen v. The Trustees of lndiana University (L:21-cv-00238) District Court, N.D, lndiana Judge
          Damon R Leichty



Godspeed


Sincerely,


On File


David Andrew Christenson
Box 9063
Miramar Beach, Florida 32550
504-715-3086
davidandrewchrlstenson@gmail.com.
dchristenson5@hotmail.com.

                                             Ceftificate of Service

  I hereby certify that on August 1.2th,2O2L,l filed the foregoing with the Clerk using CM/ECF and then
             served the pleading via CM/ECF, U.S. First Class Mail and Email on August 12th,2A27.

                                                    On File


                                          David Andrew Christenson
         Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 63 of 64
        case 4.21,-cv-oL774 Document 36 Filed on ost2st2r,, ,Sti:"8j1{e"itl"S


                                                                                              sEP 29     202X


                                                                                                                  *t'*
Amicus 149    -   Septem ber   241h,   zozt -correction - Further Anatvsis - (Not rrvnhtailifrt8ilflIetftrlfll$

       Neither Trump nor Biden will "lnsure Domestic Tranquility'' People vote their fear and ignorance.

                                   THE ENEMY IS US. THERE IS NO RECOVERY.


ls   Jared Kushner, lsrael/Mossad/, Taiwan and Ukraine funding and transporting the Haitians to Del Rio,
Texas? Someone is funding the migration. They are tampering with the 2022 and 2024 elections.


Our allies fear Biden. Russia does not fear Biden. Israel/Mossad has zero confidence in Biden. (You
might add NATO, Europe and especially France. Trump is missed.) EmperorTrump returns in2O24.

                                            Original Letter Septem bet 23'd,2027


lsMike Lindell 'The Pillow Guy", General Michael Flynn and the Russians funding and transporting the
Haitians to Del Rio, Texas on behalf of President Donald Trump?


Before you decide if I am crazy, please review one pleading. Judge Lynn Nettleton Hughes, who arguably
could be the worst judge in the Federal Judiciary or at least the most overturned, allowed my pleading
(attached) to be entered into the docket and remain in the docket. My other pleadings were struck by
Judge Hughes but remain in the docket. The odd part about the pleading is that I did not put the case
number, 4:21-cv-L774, in the header, he did. Judge Hughes knows my feelings towards him.
Bridges v. Houston Methodist Hospital (4:21-arOt774) District Court, S.D. Texas Judge Lynn Nettleton
Attached: Case 4:21-cv-01774 Document 33 Filed on OBlt6/21in TXSD Page L of 2

September 23'd,2021

      MATHEMATTCALLY MANKND WILL CEASE TO EXTST IS THE NEXT FEW YEARS. MATHEMATICALLY
                                            SUICIDES WILL OUTNUMBER BIRTHS.


                                   MY FIRST JOB      rS   TO gHANGE THE NARRATIVE


                  MY SECOND JOB        Ii   TO REMOVE TRUMP AND BIDEN FROM THE NARRATIVE


WE WOULD NOT BE IN THE PANDEMIC IF THE SUPREME COURT HAD ORDERED A RESPONSE TO MY
WRIT 14.10077 MANDAMUS AND PROHIBITION.


To: Jane Sullivan Roberts, Patricia McCabe, Jeffrey P. Minear, Marshal Gail A. Curley, Clerk Scott Harris,
Justlce Amy C. Barrett. - Judge Ellen Lipton Hollander, Clerk Felicia Cannon, Chief Judge William Pryor Jr,,
Clerk David J. Smith, Chief Judge Lee H. Rosenthal, Chief Judge Priscilla R. Owen, Clerk Lyle Cayce, Judge
Lynn N. Hughes, Clerk Nathan Ochsner, Marshal T. O'Connor, Vice Admiral John Christenson, and lrving L
Azoff. Complete list of addressees is at the end of the IeJter.
          Case 3:21-cv-08378-JD Document 66 Filed 10/08/21 Page 64 of 64
       Case 4:2L-cv-0L774 Document               36 Filed on 09129121, in TXSD Page 2 of 3



Reference: (Judge Sullivan has not closed Stevens from 2008 or Flynn from 2017. Judge Sullivan made it
very clear that Flynn committed Treason.)
Writ of Mandamus and Writ of Mandamus 14-1007 Supreme Court
Six V-egs loter the 77th Circuit ollowed me to file the exoct sqme Writ that I flled with the Suoreme Court.
Thev knew whotthev were doina. Revlew the docket.
United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The United States
of America - Court of Appeals No.: 21-1.0371- USCAll Case: 21-10371 Date Filed:-O2/O4(2O2LPage;tof
r42.
United States v. Stevens (1:08-cr-00231) District Court, District of Columbia Judge Emmet G. Sullivan
United States v. Flynn (1:17'cr-00232) District Court, District of Columbia Judge Emmet G. Sullivan
U.S. Dominion v, My Pillow, lnc. (1:21-cv-00445) District Court, District of Columbia Judge CarlJohn
Nichols
Alters v. People's Republic of China (1:20-cv-21108) District Court, S,D. Florida Judge Ursula Mancusi
Ungaro - Case 1:20-cv-21108-UU Document 38 Entered on FLSD Docket O6lLOl2O20 Page t of20             -
Review the one hundred plus pleadings that Judge Ungaro allowed me to docket. Just read the
narratives.
Standage v. Braithwaite (1:20-cv-02830) Distrlct Court, D. Maryland Judge Ellen Lipton Hollander
Chief Judae Lee Rosenthal. SDTX. docketed mv pleadinos in the follqrltino two coses and she was not thg.
presidina iudae nor was I a portv. Thev actuallv continued-to docket mv pleadlnas after the coses were
closed.
Bridges v. Houston Methodist Hospital (4:2l-ar07774) District Court, S,D. Texas Judge Lynn Nettleton
Benitez-White v. Peoples Republlc of China (4:20-cv-01552) District Court, S.D. Texas Judge Ewing
Werlein Jr. (Look at the last 7 out of 8 docket entries.)
Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
Judge John George Koeltl (Review the docket. Judge Koeltl gave me one hell of a voice. He allowed me to
docket the "Unabomber's" Manifesto.)

Zainab Naeem Ahmad, Stephen Pierce Anthony, Jocelyn S. Ballantine, Benjamin Leon Beruvlck, Jesse         R

Binnall, Andrew Manuel Crespo, Deborah A. Curtis, Scott M. Dinner, Eugene R. Fidell, Benjamin Michael
Flowers, Abigail Frye, John Gleeson, Elaine J. Goldenberg, Brianne Jenna Gorod, Jeffrey T. Green, Deepak
Gupta, John Edward Hall, W. William Hodes, Robert K. Kelner, Kenneth Clair Kohl, Stanley J. Marcuss,
David Oscar Markus, Jonathan Standish Massey, Leslie McAdoo Gordon, Molly McCann, Lindsay R.
McKasson; Hashim M. Mooppan, Jeremiah Lee Morgan, Jonathon Alden Moseley, Robert Jeffrey Olson,
William Jeffrey Olson, Lorenzo J. Palomares, Kristy Parker, Sidney Powell, Lawrence Saul Robbins,
Christopher S, Ross, William W. Taylor, lll, Herbert W. Titus, P. Andrew Torrez, Brandon Lang Van Grack,
Elizabeth Wydra, Gregory Arenson, Elisha Barron, Ddvida Broo( Florence Chen, Thomas A. Clare,
Douglas A. Daniels, Brittany Fowler, Abraham S. Kaplan, Nathan Lewin, Ryan Malone, Megan Lambart
Meier, Justin A. Nelson, Heath Novosad, Andrew D. Parker, Joseph Alan Pull, Dustin Andrew Pusch,
Stephen Shackelford, Jr., Laranda Walker, and Elizabeth S. Wright.


Godspeed - Sincerely, - David Andrew Christenson
Box 9053 - Mlramar Beach, Florida 32550
504-715-3085-davidandrewchristenson@smail.corn.-dchfjstenson.6@hotmail.com.
